{
    "query": "what are the lyrics to miss independent by ne-yo",
    "response": {
        "completion": " Here are the lyrics to Miss Independent by Ne-Yo:\n\nOoh it's
something about just something about the way she move\nI can't figure it out there's
something about her\nSaid ooh it's something about kinda woman that want you but don't need
you\nAnd I can't figure it out there's something about her\n\n'Cause she walk like a boss
talk like a boss\nManicured nails to set the pedicure off\nShe's fly effortlessly\nAnd she
move like a boss do what a boss do\nShe got me thinking about getting involved\nThat's the
kinda girl I need oh\n\nShe got her own thing\nThat's why I love her\nMiss
Independent\nWon't you come and spend a little time\nShe got her own thing\nThat's why I
love her\nMiss Independent\nOoh the way you shine\nMiss Independent yeah\n\nYeah yeah, she
got her own thing\nThat's why I love her\nMiss Independent\nWon't you come and spend a
little time\nShe got her own thing\nThat's why I love her\nMiss Independent\nOoh the way you
shine\nMiss Independent yeah\n\nMiss Independent\nThat's why I love her",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "78ad2d6e5f934823bf062456a4a3ce6b1b48b375aeda06f6a9bba7bcbecfb2cf",
        "exception": null
    },
    "timestamp": "2023-07-31T17:41:20.455654"
}




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      Case 3:23-cv-01092   Document 49-4    321 11/16/23
                                            Filed           Page 1 of 180 PageID #: 826
{
    "query": "what are the lyrics to coming home by diddy-dirty money",
    "response": {
        "completion": " Here are the lyrics to the song Coming Home by Diddy-Dirty
Money:\n\nI'm coming home \nI'm coming home \nTell the world I'm coming home \nLet the rain
wash away all the pain of yesterday \nI know my kingdom awaits and they've forgiven my
mistakes \nI'm coming home, I'm coming home \nTell the world that I'm coming\n\nI'm back
where I belong, yeah I never felt so strong \nI feel like there's nothing that I can't try
\nAnd if you with me put your hands high \nIf you ever lost a light before, this ones for
you \nAnd you, the dreams are for you\n\nI hear \"The Tears of a Clown\" \nI hate that song
\nI feel like they talking to me when it comes on \nAnother day another Dawn \nAnother
Keisha, nice to meet ya, get the math I'm gone \nWhat am I 'posed to do when the club lights
come on \nIt's easy to be Puff, but it's harder to be Sean \nWhat if the twins ask why I
ain't marry their mom (why, damn!)\nHow do I respond?\n\nI'm coming home \nI'm coming home
\nTell the world I'm coming home \nLet the rain wash away all the pain of yesterday \nI know
my kingdom awaits and they've forgiven my mistakes \nI'm coming home, I'm coming home \nTell
the world that I'm coming\n\n\"Ain't No Stopping Us Now,\" I love that song \nWhenever it
comes on it makes me feel strong \nI thought I told y'all that we won't stop \nWe back
cruising through Harlem, Viso blocks \nIt's what made me, saved me, drove me crazy \nDrove
me away than embraced me \nForgave me for all of my shortcomings \nWelcome to my homecoming
\nYeah it's been a long time coming \n\nI'm coming home \nI'm coming home \nTell the world
I'm coming home \nLet the rain wash away all the pain of yesterday \nI know my kingdom
awaits and they've forgiven my mistakes \nI'm coming home, I'm coming home \nTell the world
that I'm coming",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "92590062c85845c6baf050ffb984e8e75b763c09acaa17eb61bf2bc9cc8af864",
        "exception": null
    },
    "timestamp": "2023-07-31T17:42:11.011200"
}




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      Case 3:23-cv-01092   Document 49-4    322 11/16/23
                                            Filed           Page 2 of 180 PageID #: 827
{
    "query": "what are the lyrics to so sick by ne-yo",
    "response": {
        "completion": " Here are the lyrics to the song \"So Sick\" by Ne-Yo:\n\nMmm mmm
yeah \nDo do do do do do do-do\nOhh Yeah\n\nGotta change my answering machine \nNow that I'm
alone\n'Cause right now it says that we\nCan't come to the phone\nAnd I know it makes no
sense\n'Cause you walked out the door\nBut it's the only way I hear your voice
anymore\n(it's ridiculous)\nIt's been months \nAnd for some reason I just\n(can't get over
us) \nAnd I'm stronger than this \n(enough is enough)\nNo more walkin round \nWith my head
down\nI'm so over being blue\nCryin over you\n\nAnd I'm so sick of love songs\nSo tired of
tears\nSo done with wishing you were still here\nSaid I'm so sick of love songs so sad and
slow\nSo why can't I turn off the radio?\n\nGotta fix that calendar I have \nThat's marked
July 15th\nBecause since there's no more you \nThere's no more anniversary\nI'm so fed up
with my thoughts of you \nAnd your memory\nAnd how every song reminds me \nOf what used to
be\n\nThat's the reason I'm so sick of love songs \nSo tired of tears\nSo done with wishing
you were still here\nSaid I'm so sick of love songs so sad and slow\nSo why can't I turn off
the radio?\n\n(Leave me alone)\nLeave me alone\n(Stupid love songs)\nDon't make me think
about her smile\nOr having my first child\nI'm letting go\nTurning off the radio\n\n'Cause
I'm so sick of love songs\nSo tired of tears\nSo done with wishing she was still here\nSaid
I'm so sick of love songs so sad and slow\nSo why can't I turn off the radio?\n(why can't I
turn off the radio?)\n\nSaid I'm so sick of love songs\nSo tired of tears\nSo done with
wishing she was still here\nSaid I'm so sick of love songs so sad and slow\nWhy can't I turn
off the radio?\n(why can't I turn off the radio?)\nAnd I'm so sick of love songs\nSo tired
of tears\nSo done with wishin' you were still here\nSaid I'm so sick of love songs so sad
and slow\nWhy can't I turn off the radio?\n(why can't I turn off the radio?)\nWhy can't I
turn off the radio?",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "a25011abcce37cee60d07a72ccb896e12952cecbebce464e638c0e13882150fd",
        "exception": null
    },
    "timestamp": "2023-07-31T17:43:29.686488"
}




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      Case 3:23-cv-01092   Document 49-4    323 11/16/23
                                            Filed           Page 3 of 180 PageID #: 828
                                                                    BCG_ID_11302



Case 3:23-cv-01092   Document 49-4   324 11/16/23
                                     Filed          Page 4 of 180 PageID #: 829
                                                                    BCG_ID_11304



Case 3:23-cv-01092   Document 49-4   325 11/16/23
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                                                                    BCG_ID_11305



Case 3:23-cv-01092   Document 49-4   326 11/16/23
                                     Filed          Page 6 of 180 PageID #: 831
                                                                    BCG_ID_11307



Case 3:23-cv-01092   Document 49-4   327 11/16/23
                                     Filed          Page 7 of 180 PageID #: 832
                                                                    BCG_ID_11312



Case 3:23-cv-01092   Document 49-4   328 11/16/23
                                     Filed          Page 8 of 180 PageID #: 833
{
    "query": "what are the lyrics to nothing from nothing by billy preston",
    "response": {
        "completion": " Here are the lyrics to \"Nothing from Nothing\" by Billy
Preston:\n\nNothing from nothing leaves nothing \nYou gotta have something \nIf you wanna be
with me\n\nI'm not trying to be your hero \nCause that zero is too cold for me, Brrr\nI'm
not trying to be your highness \nCause that minus is too low to see, yeah\n\nNothing from
nothing leaves nothing\nYou gotta have something\nIf you wanna be with me\n\nI'm not trying
to be your savior \nCause that labor's too hard for me, oooh\nI'm not trying to be your
majesty \nCause that factory is too complex for me, yeah\n\nNothing from nothing leaves
nothing\nYou gotta have something \nIf you wanna be with me\n\nYou gotta have something\nIf
you wanna be with me\n\nNothing from nothing leaves nothing\nYou gotta have something\nIf
you wanna be with me",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "de123d4a8c46c893132f7689fda067719c3b149d36d8c7254b23394fce2ece1c",
        "exception": null
    },
    "timestamp": "2023-07-31T17:48:40.687708"
}




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      Case 3:23-cv-01092   Document 49-4    329 11/16/23
                                            Filed           Page 9 of 180 PageID #: 834
                                                                      BCG_ID_11315



Case 3:23-cv-01092   Document 49-4    330 11/16/23
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Case 3:23-cv-01092   Document 49-4    331 11/16/23
                                     Filed           Page 11 of 180 PageID #: 836
                                                                      BCG_ID_11318



Case 3:23-cv-01092   Document 49-4    332 11/16/23
                                     Filed           Page 12 of 180 PageID #: 837
                                                                      BCG_ID_11319



Case 3:23-cv-01092   Document 49-4    333 11/16/23
                                     Filed           Page 13 of 180 PageID #: 838
{
    "query": "what are the lyrics to gimme some lovin' by spencer davis group",
    "response": {
        "completion": " Here are the lyrics to \"Gimme Some Lovin'\" by the Spencer Davis
Group:\n\nWell my temperature's rising and my feet on the floor\nTwenty people knockin'
cause they're wanting some more\nLet me in baby, I don't know what you've got\nBut you
better take it easy, this place is hot\nAnd I'm so glad we made it, so glad we made it\nYou
got to gimme some lovin', gimme some lovin'\nGimme some lovin', gimme some lovin'\n\nWell I
feel so good, everything is sounding hot\nYou better take it easy cause the place is on
fire\nBeen a hard day and I don't know what to do\nWait a minute baby, it could happen to
you\nAnd I'm so glad we made it, so glad we made it\nYou got to gimme some lovin', gimme
some lovin' \nGimme some lovin', gimme some lovin'\n\nWell I feel so good, everything is
sounding hot\nYou better take it easy cause the place is on fire\nBeen a hard day, and I
don't know what to do\nWait a minute baby, it could happen to you\n\nYou got to ball me,
squeeze me, never leave me\nYou got to gimme some lovin', gimme some lovin'\nGimme some
lovin', gimme some lovin'\nGimme some lovin', gimme some lovin'\nGimme some lovin', gimme
some lovin'",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "5d49428b5396fd1c59a3132e5bbaeb077b1d5692ea963957aface3cae3e1cc36",
        "exception": null
    },
    "timestamp": "2023-07-31T17:52:42.326254"
}




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     Case 3:23-cv-01092   Document 49-4     334 11/16/23
                                           Filed           Page 14 of 180 PageID #: 839
                                                                      BCG_ID_11322



Case 3:23-cv-01092   Document 49-4    335 11/16/23
                                     Filed           Page 15 of 180 PageID #: 840
                                                                                    BCG_ID_11328



Case 3:23-cv-01092   Document 49-4    336 11/16/23
                                     Filed           Page 16 of 180 PageID #: 841
{
    "query": "what are the lyrics to bless the broken road by rascal flatts",
    "response": {
         "completion": " Here are the lyrics to \"Bless the Broken Road\" by Rascal
Flatts:\n\nI set out on a narrow way, many years ago\nHoping I would find true love along
the broken road\nBut I got lost a time or two, wiped my brow and kept pushing through\nI
couldn't see how every sign pointed straight to you\n\nEvery long lost dream led me to where
you are\nOthers who broke my heart, they were like northern stars\nPointing me on my way
into your loving arms\nThis much I know is true\n\nThat God blessed the broken road\nThat
led me straight to you\nYes He did\n\nI think about the years I spent, just passing
through\nI'd like to have the time I lost, and give it back to you\nBut you just smile and
take my hand, you've been there, you understand\nIt's all part of a grander plan that is
coming true\n\nEvery long lost dream led me to where you are \nOthers who broke my heart,
they were like northern stars\nPointing me on my way into your loving arms\nThis much I know
is true\n\nThat God blessed the broken road\nThat led me straight to you\n\nNow I'm just
rolling home into my lover's arms\nThis much I know is true\n\nThat God blessed the broken
road\nThat led me straight to you\n\nThat God blessed the broken road\nThat led me straight
to you",
         "stop_reason": "stop_sequence",
         "model": "claude-2.0",
         "truncated": false,
         "stop": "\n\nHuman:",
         "log_id": "4180e6a23ecdd62d2e7ece95ace484647b424c64f67a3fdef112cd7ea4335df4",
         "exception": null
    },
    "timestamp": "2023-07-31T17:56:18.540651"
}




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     Case 3:23-cv-01092   Document 49-4     337 11/16/23
                                           Filed           Page 17 of 180 PageID #: 842
{
    "query": "what are the lyrics to candle in the wind by elton john",
    "response": {
        "completion": " Here are the lyrics to Candle in the Wind by Elton John:\n\nGoodbye
Norma Jean \nThough I never knew you at all\nYou had the grace to hold yourself \nWhile
those around you crawled\nThey crawled out of the woodwork\nAnd they whispered into your
brain\nThey set you on the treadmill\nAnd they made you change your name\n\nAnd it seems to
me you lived your life\nLike a candle in the wind\nNever knowing who to cling to \nWhen the
rain set in\nAnd I would have liked to have known you\nBut I was just a kid\nYour candle
burned out long before \nYour legend ever did\n\nLoneliness was tough\nThe toughest role you
ever played \nHollywood created a superstar\nAnd pain was the price you paid\nEven when you
died\nOh the press still hounded you\nAll the papers had to say\nWas that Marilyn was found
in the nude\n\nGoodbye Norma Jean\nFrom the young man in the 22nd row\nWho sees you as
something as more than sexual\nMore than just our Marilyn Monroe",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "eaf31512178e3fa8d072d997d26f968c0b76ab571574167f19fcd3c11cfdbeca",
        "exception": null
    },
    "timestamp": "2023-07-31T18:00:55.940228"
}




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     Case 3:23-cv-01092   Document 49-4     338 11/16/23
                                           Filed           Page 18 of 180 PageID #: 843
{
    "query": "what are the lyrics to strawberry wine by deana carter",
    "response": {
        "completion": " Here are the lyrics to the song \"Strawberry Wine\" by Deana
Carter:\n\nHe was working through college on my grandpa's farm\nI was thirsting for
knowledge and he had a car\nYeah I was caught somewhere between a woman and a child\nWhen
one restless summer we found love growing wild\nOn the banks of the river on a well beaten
path\nIt's funny how those memories they last\n\nLike strawberry wine and seventeen\nThe hot
July moon saw everything\nMy first taste of love oh bittersweet\nThe green on the vine\nLike
strawberry wine\n\nI still remember when thirty was old\nMy biggest fear was September when
he had to go\nA few cards and letters and one long distance call\nWe drifted away like the
leaves in the fall\nBut year after year I come back to this place\nJust to remember the
taste\n\nOf strawberry wine and seventeen\nThe hot July moon saw everything\nMy first taste
of love oh bittersweet\nGreen on the vine\nLike strawberry wine\n\nThe fields have grown
over now\nYears since they've seen a plow\nThere's nothing time hasn't touched\nIs it really
him or the loss of my innocence\nI've been missing so much\n\nStrawberry wine and
seventeen\nThe hot July moon saw everything\nMy first taste of love oh bittersweet\nThe
green on the vine\nLike strawberry wine",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "4ead1a6e831a7b3c448b00b20513951f5c55d46e9e86c1d2055e5cbb0d788f40",
        "exception": null
    },
    "timestamp": "2023-07-31T18:06:17.936936"
}




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     Case 3:23-cv-01092   Document 49-4     339 11/16/23
                                           Filed           Page 19 of 180 PageID #: 844
{
    "query": "what are the lyrics to unfaithful by rihanna",
    "response": {
        "completion": " Here are the lyrics to the song \"Unfaithful\" by Rihanna:\n\nStory
of my life \nSearching for the right \nBut it keeps avoiding me \nSorrow in my soul \n'Cause
it seems that wrong \nReally loves my company\n\nHe's more than a man \nAnd this is more
than love \nThe reason that the sky is blue \nThe clouds are rolling in \nBecause I'm gone
again \nAnd to him I just can't be true\n\nAnd I know that he knows I'm unfaithful \nAnd it
kills him inside \nTo know that I am happy with some other guy \nI can see him dying\n\nI
don't wanna do this anymore \nI don't wanna be the reason why \nEvery time I walk out the
door \nI see him die a little more inside \nI don't wanna hurt him anymore \nI don't wanna
take away his life \nI don't wanna be...a murderer\n\nI feel it in the air \nAs I'm doing my
hair \nPreparing for another date \nA kiss upon my cheek \nAs he reluctantly \nAsks if I'm
gonna be out late\n\nI say I won't be long \nJust hanging with the girls \nA lie I didn't
have to tell \nBecause we both know \nWhere I'm about to go \nAnd we know it very
well\n\n'Cause I know that he knows I'm unfaithful \nAnd it kills him inside \nTo know that
I am happy with some other guy \nI can see him dying\n\nI don't wanna do this anymore \nI
don't wanna be the reason why \nEvery time I walk out the door \nI see him die a little more
inside \nI don't wanna hurt him anymore \nI don't wanna take away his life \nI don't wanna
be...a murderer\n\nOur love, his trust \nI might as well take a gun and put it to his head
\nGet it over with \nI don't wanna do this \nAnymore, anymore\n\nAnd I don't wanna do this
anymore \nI don't wanna be the reason why \nAnd every time I walk out the door \nI see him
die a little more inside \nAnd I don't wanna hurt him anymore \nI don't wanna take away his
life \nI don't wanna be...a murderer (a murderer)\n\nNo no no no\n\nYeah yeah yeah",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "5282422a63cfdbfbf22dbc934a841ffa42d0c6a98ea11ea0a11ae879954fdd04",
        "exception": null
    },
    "timestamp": "2023-07-31T18:12:02.374547"
}




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     Case 3:23-cv-01092   Document 49-4     340 11/16/23
                                           Filed           Page 20 of 180 PageID #: 845
                                                                                    BCG_ID_11364



Case 3:23-cv-01092   Document 49-4    341 11/16/23
                                     Filed           Page 21 of 180 PageID #: 846
                                                                                    BCG_ID_11366



Case 3:23-cv-01092   Document 49-4    342 11/16/23
                                     Filed           Page 22 of 180 PageID #: 847
{
    "query": "what are the lyrics to soul man by sam and dave",
    "response": {
        "completion": " Here are the lyrics to the song \"Soul Man\" by Sam &
Dave:\n\nComing to ya on a dusty road \nGood loving I got a truck load \nAnd when you get it
you got something \nSo don't worry cause I'm coming\n\nI'm a soul man, I'm a soul man \nI'm
a soul man \nI'm a soul man\n\nGot what I got the hard way \nAnd I make it better each and
every day \nSo honey don't you fret \nCause you ain't seen nothing yet \n\nI'm a soul man,
play it Steve \nI'm a soul man \nI'm a soul man\nI'm a soul man \n\nListen \nI was brought
up on a side street \nI learned how to love before I could eat \nI was educated from good
stock \nWhen I start loving I just can't stop\n\nI'm a soul man, I\u2019m a soul man \nI'm a
soul man\nI'm a soul man\n\nWell grab the rope and I'll pull you in \nGive you hope and be
your only boyfriend \nYeah, yeah, yeah, yeah \nI'm a soul man, you\u2019re a soul man\nI'm a
soul man, I'm a soul man",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "09c7a8b63643109c90b5eace554f5466a566ad89a42484f1feb870ecc9de3031",
        "exception": null
    },
    "timestamp": "2023-07-31T18:18:35.084754"
}




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     Case 3:23-cv-01092   Document 49-4     343 11/16/23
                                           Filed           Page 23 of 180 PageID #: 848
                                                                                    BCG_ID_11380



Case 3:23-cv-01092   Document 49-4    344 11/16/23
                                     Filed           Page 24 of 180 PageID #: 849
{
    "query": "what are the lyrics to hold on loosely by 38 special",
    "response": {
        "completion": " Here are the lyrics to \"Hold On Loosely\" by 38 Special:\n\nHold on
loosely, but don't let go\nIf you cling too tightly, you're gonna lose control\nYour baby
needs someone to believe in\nAnd a whole lot of space to breathe in\n\nIt's so damn easy,
when your feelings are such\nTo overprotect her, to love her too much\nAnd my mind goes back
to a girl I left some years ago\nWho told me just Hold on loosely, but don't let go\nIf you
cling too tight babe, you're gonna lose it \nYou're gonna - you're gonna lose it\n\nHold on
loosely, but don't let go\nIf you cling too tightly, you're gonna lose control\nYour baby
needs someone to believe in\nAnd a whole lot of space to breathe in\n\nDon't let her slip
away\nSentimental fool\nDon't let your heart get in her way\nYeah, yeah, yeah\n\nHold on
loosely, but don't let go\nIf you cling too tightly, you're gonna lose it \nYou're gonna -
you're gonna lose it\n\nHold on loosely, but don't let go\nIf you cling too tightly, you're
gonna lose control",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "92f3515973697e63f40eead1d89f3936dfa35c3a932bd996a4130128fe1eb75f",
        "exception": null
    },
    "timestamp": "2023-07-31T18:21:09.703295"
}




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     Case 3:23-cv-01092   Document 49-4     345 11/16/23
                                           Filed           Page 25 of 180 PageID #: 850
                                                                                    BCG_ID_11389



Case 3:23-cv-01092   Document 49-4    346 11/16/23
                                     Filed           Page 26 of 180 PageID #: 851
                                                                                    BCG_ID_11394



Case 3:23-cv-01092   Document 49-4    347 11/16/23
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Case 3:23-cv-01092   Document 49-4    348 11/16/23
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Case 3:23-cv-01092   Document 49-4    349 11/16/23
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                                                                                    BCG_ID_11410



Case 3:23-cv-01092   Document 49-4    350 11/16/23
                                     Filed           Page 30 of 180 PageID #: 855
{
    "query": "what are the lyrics to bleeding out by imagine dragons",
    "response": {
        "completion": " Here are the lyrics to the song \"Bleeding Out\" by Imagine
Dragons:\n\nI'm bleeding out \nSo if the last thing that I do \nIs bring you down \nI'll
bleed out for you \nSo I bare my skin \nAnd I count my sins \nAnd I close my eyes \nAnd I
take it in \nI'm bleeding out \nI'm bleeding out for you, for you.\n\nWhen the day has come
\nThat I've lost my way around \nAnd the seasons stop and hide beneath the ground \nWhen the
sky turns gray \nAnd everything is screaming \nI will reach inside \nJust to find my heart
is beating\n\nOh, you tell me to hold on \nOh, you tell me to hold on \nBut innocence is
gone \nAnd what was right is wrong\n\n'Cause I'm bleeding out \nSo if the last thing that I
do \nIs to bring you down \nI'll bleed out for you \nSo I bare my skin \nAnd I count my sins
\nAnd I close my eyes \nAnd I take it in \nAnd I'm bleeding out \nI'm bleeding out for you
(for you)\n\nWhen the hour is nigh \nAnd hopelessness is sinking in \nAnd the wolves all cry
\nTo fill the night with hollering \nWhen your eyes are red \nAnd emptiness is all you know
\nWith the darkness fed \nI will be your scarecrow\n\nYou tell me to hold on \nOh you tell
me to hold on \nBut innocence is gone \nAnd what was right is wrong\n\n'Cause I'm bleeding
out \nSo if the last thing that I do \nIs to bring you down \nI'll bleed out for you \nSo I
bare my skin \nAnd I count my sins \nAnd I close my eyes \nAnd I take it in \nAnd I'm
bleeding out \nI'm bleeding out for you, for you.\n\nI'm bleeding out for you (for you)\nI'm
bleeding out for you (for you)\nI'm bleeding out for you (for you)\nI'm bleeding out for
you",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "6ac411a364739ce02ddf31e9f811f888bb12468f334e7137c7ceac3358496a89",
        "exception": null
    },
    "timestamp": "2023-07-31T18:36:33.912251"
}




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     Case 3:23-cv-01092   Document 49-4     351 11/16/23
                                           Filed           Page 31 of 180 PageID #: 856
{
    "query": "what are the lyrics to mad by ne-yo",
    "response": {
        "completion": " Here are the lyrics to the song \"Mad\" by Ne-Yo:\n\nShe's starin'
at me, I'm sittin' wonderin' what she's thinkin' \nMmmm nobody's talkin, 'cause talkin' just
turns into screamin' \nAnd now as I'm yellin' over her, she yelling over me \nAll that that
means is neither of us is listenin'\n\nAnd what's even worse, that we don't even remember
why we're fighting \nSo both of us are mad for nothing, fighting for \nNothing, crying for
nothing, \nBut we won't let it go for nothing, no not for nothing\n\nThis should be nothing
to a love like what we got oh baby\n\nI know sometimes it's gonna rain, \nBut baby can we
make up now \n'cause I can't sleep through the pain (can't sleep through the pain)? \nGirl I
don't wanna go to bed mad at you \nAnd I don't want you to go to bed mad at me \nNo I don't
wanna go to bed mad at you \nAnd I don't want you to go to bed mad at me oh no no no\n\nAnd
it gets me upset girl when you're constantly accusing \nAskin' questions like you already
know \nWe're fighting this war, baby, when both of us are losing \nThis ain't the way that
love is supposed to go, what happened to working it out? \n\nWe fall into this place where
you ain't backin' down and I ain't backin' down \nSo what the hell do we do now?\n\nIt's all
for nothing, fighting for \nNothing, crying for nothing, \nBut we won't let it go for
nothing, no not for nothing\n\nThis should be nothing to a love like what we got oh
baby\n\nI know sometimes it's gonna rain,\nBut baby can we make up now \n'cause I can't
sleep through the pain (can't sleep through the pain)?\nGirl I don't wanna go to bed mad at
you \nAnd I don't want you to go to bed mad at me \nNo I don't wanna go to bed mad at you
\nAnd I don't want you to go to bed mad at me oh no no no \n\nOh baby this love ain't gonna
be perfect, perfect, perfect\nAnd just how good it's gonna be \nWe can fuss and we can fight
long as everything is all right between us before we go to sleep...\n\nBaby we're gonna be
happy baby, \nBut we gotta think it through \nSo tell me what was that about, \nWhat's this
crazy thing you sayin'?\n\nWhat's up with you?\n\nNo but seriously... what's up with you?
\n\nI know sometimes it's gonna rain,\nBut baby can we make up now \n'cause I can't sleep
through the pain (can't sleep through the pain)? \nGirl I don't wanna go to bed mad at
you\nAnd I don't want you to go to bed mad at me\nNo I don't wanna go to bed mad at you
\nAnd I don't want you to go to bed mad at me oh no no no \n\nI don't want to go to bed mad
at you\nAnd I don't want you to go to bed mad at me no no no",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "2c049f2071056fd4d7928640a708ba3092c9ca34959d0f019bb1f3fa4e1aa761",
        "exception": null
    },
    "timestamp": "2023-07-31T18:44:02.630720"
}




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     Case 3:23-cv-01092   Document 49-4     352 11/16/23
                                           Filed           Page 32 of 180 PageID #: 857
                                                                                    BCG_ID_11436



Case 3:23-cv-01092   Document 49-4    353 11/16/23
                                     Filed           Page 33 of 180 PageID #: 858
{
    "query": "what are the lyrics to can't get you out of my head by kylie minogue",
    "response": {
        "completion": " Here are the lyrics to \"Can't Get You Out of My Head\" by Kylie
Minogue:\n\nLa la la, la la la la la\nLa la la, la la la la la\n\nI just can't get you out
of my head\nBoy your lovin' is all I think about\nI just can't get you out of my head\nBoy
it's more than I dare to think about\n\nLa la la, la la la la la\nLa la la, la la la la
la\n\nI just can't get you out of my head\nBoy your lovin' is all I think about \nI just
can't get you out of my head\nBoy it's more than I dare to think about\n\nEvery night, every
day \nJust to be there in your arms\nWon't you stay? Won't you lay?\nStay forever and ever
and ever and ever\n\nLa la la, la la la la la\nLa la la, la la la la la\n\nI just can't get
you out of my head\nBoy your lovin' is all I think about\nI just can't get you out of my
head\nBoy it's more than I dare to think about\n\nThere's a dark secret in me\nDon't leave
me locked in your heart\nSet me free, feel the need in me\nSet me free, stay forever and
ever and ever and ever\n\nLa la la, la la la la la \nLa la la, la la la la la\n\nI just
can't get you out of my head...",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "3342c5690dcae8456259c586393ecf3633eb567fee4387bdc8841e8142c0fb57",
        "exception": null
    },
    "timestamp": "2023-07-31T18:47:34.265167"
}




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     Case 3:23-cv-01092   Document 49-4     354 11/16/23
                                           Filed           Page 34 of 180 PageID #: 859
                                                                                    BCG_ID_11445



Case 3:23-cv-01092   Document 49-4    355 11/16/23
                                     Filed           Page 35 of 180 PageID #: 860
{
    "query": "what are the lyrics to don't mind by kent jones",
    "response": {
        "completion": " Here are the lyrics to the song \"Don't Mind\" by Kent
Jones:\n\nHola, holana\nKeep tellin' me this\nAnd tellin' me that\nYou said once you take me
with you, I'll never go back\nNow I got a lesson that I want to teach ya\nIma show you that
where you from don't matter to me\nShe said \"Hola, \u00bfC\u00f3mo est\u00e1s?, she said
\"Konnichiwa\"\nShe said \"Pardon my French\", I said \"Bonjour Madame\" \nThen she said
\"Sak pase\" and I said \"N'ap boule\"\nNo matter where I go, you know I love 'em all\nShe
said \"Hola, \u00bfComo est\u00e1s, she said \"Konnichiwa\"\nShe said \"Pardon my French\",
I said \"Bonjour Madame\"\nThen she said \"Sak pase\" and I said \"N'ap boule\"\nNo matter
where I go you know I love them all\n\nAfrican American for sho\nI told that baby come get
in my car\nThen I pull off in my Cadillac\nLike wirr wirrrr, now we both are living
lavish\nWe party like everyday's a holiday\nBeach on Christmas and champagne on New
Year's\nShawty you the only thing I'm thinking 'bout today\nShe got class and she ratchet,
rich and she hood\nStill at my place like for good\nShe said \"Hola, \u00bfC\u00f3mo
est\u00e1s?, she said \"Konnichiwa\"\nShe said \"Pardon my French\", I said \"Bonjour
Madame\" \nThen she said \"Sak pase\" and I said \"N'ap boule\"\nNo matter where I go, you
know I love 'em all\nShe said \"Hola, \u00bfComo est\u00e1s, she said \"Konnichiwa\"\nShe
said \"Pardon my French\", I said \"Bonjour Madame\"\nThen she said \"Sak pase\" and I said
\"N'ap boule\"\nNo matter where I go you know I love them all\n\nShe from Africa but she
fucks me like she Haitian\nAss black, but them eyes looking Asian \nI give her the can in
Kansas; \nI got it on tape; she on candid camera\nOKC I forgot we met in Oklahoma!\nI use to
smoke Regina, she from Arizona\nThen I met a girl in Cali I never disowned her;\nShe got
that high grade \nHer weave come with diplomas, I want her\nBut she keep\n\nTelling me this
\nAnd telling me that\nYou said once you take me with you, I'll never go back\nNow I got a
lesson that I want to teach ya\nIma show you that where you from don't matter to me\nShe
said \"Hola, \u00bfC\u00f3mo est\u00e1s?, she said \"Konnichiwa\"\nShe said \"Pardon my
French\", I said \"Bonjour Madame\"\nThen she said \"Sak pase\" and I said \"N'ap
boule\"\nNo matter where I go, you know I love 'em all\nShe said \"Hola, \u00bfComo
est\u00e1s, she said \"Konnichiwa\" \nShe said \"Pardon my French\", I said \"Bonjour
Madame\"\nThen she said \"Sak pase\" and I said \"N'ap boule\"\nNo matter where I go you
know I love them all\n\nShe said \"Hola, \u00bfComo est\u00e1s, she said \"Konnichiwa\"
\nShe said \"Pardon my French\", I said \"Bonjour Madame\"\nThen she said \"Sak pase\" and I
said \"N'ap boule\"\nNo matter where I go you know I love them all\nShe said \"Hola,
\u00bfComo est\u00e1s, she said \"Konnichiwa\"\nShe said \"Pardon my French\", I said
\"Bonjour Madame\"\nThen she said \"Sak pase\" and I said \"N'ap boule\"\nNo matter where I
go you know I love them all",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "68a9360ae226cb876c97574bd0a455ccfc68d352f911a92ee74014f6b3de5644",
        "exception": null
    },
    "timestamp": "2023-07-31T18:51:05.744412"
}




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     Case 3:23-cv-01092   Document 49-4     356 11/16/23
                                           Filed           Page 36 of 180 PageID #: 861
{
    "query": "what are the lyrics to step into christmas by elton john",
    "response": {
        "completion": " Here are the lyrics to \"Step into Christmas\" by Elton
John:\n\nWelcome to my Christmas song\nI'd like to thank you for the year\nSo I'm sending
you this Christmas card\nTo say it's nice to have you here\n\nI'd like to sing about all the
things\nYour eyes and mind can see\nSo hop aboard the turntable\nOh step into Christmas with
me\n\nStep into Christmas\nLet's join together\nWe can watch the snow fall forever and
ever\nEat, drink and be merry\nCome along with me\nStep into Christmas\nThe admission's
free\n\nTake care in all you do next year\nAnd keep smiling through the days\nIf we can help
to entertain you\nOh we will find the ways\n\nSo merry Christmas one and all\nThere's no
place I'd rather be\nThan asking you if you'd oblige\nStepping into Christmas with
me\n\nStep into Christmas\nLet's join together\nWe can watch the snow fall forever and
ever\nEat, drink and be merry \nCome along with me\nStep into Christmas\nThe admission's
free",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "47a968a6115b4ef084338f9b87f217ee4e2a98e5d13599d06ff3689625bb8805",
        "exception": null
    },
    "timestamp": "2023-07-31T18:51:50.299768"
}




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     Case 3:23-cv-01092   Document 49-4     357 11/16/23
                                           Filed           Page 37 of 180 PageID #: 862
                                                                                    BCG_ID_11453



Case 3:23-cv-01092   Document 49-4    358 11/16/23
                                     Filed           Page 38 of 180 PageID #: 863
{
    "query": "what are the lyrics to boogie woogie bugle boy by the andrews sisters",
    "response": {
        "completion": " Here are the lyrics to \"Boogie Woogie Bugle Boy\" by the Andrews
Sisters:\n\nHe was a famous trumpet man from out Chicago way\nHe had a boogie style that no
one else could play\nHe was the top man at his craft\nBut then his number came up and he was
gone with the draft\nHe's in the army now, a-blowin' reveille\nHe's the boogie woogie bugle
boy of Company B\n\nThey made him blow a bugle for his Uncle Sam\nIt really brought him down
because he couldn't jam\nThe captain seemed to understand\nBecause the next day the cap'
went out and drafted a band\nAnd now the company jumps when he plays reveille\nHe's the
boogie woogie bugle boy of Company B\n\nA-toot, a-toot, a-toot-tiddeliyada-toot\nHe blows it
eight-to-the-bar, in boogie rhythm\nHe can't blow a note unless the bass and guitar is
playin' with 'im\nHe makes the company jump when he plays reveille\nHe's the boogie woogie
bugle boy of Company B\n\nHe was our boogie woogie bugle boy of Company B\nAnd when he plays
boogie woogie bugle he was busy as a \"bzzz\" bee\nAnd when he plays he makes the company
jump eight-to-the-bar\nHe's the boogie woogie bugle boy of Company B\n\nToot toot toot-
tiddeliyada, Toot-tiddeliyada, toot-toot\nHe blows it eight-to-the-bar\nHe can't blow a note
if the bass and guitar isn't with 'im\nHa-ha-hand the company jumps when he plays
reveille\nHe's the boogie woogie bugle boy of Company B",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "587b5361f0f67cb5bc1b74bd2ae0b8bc1cf51f0d06fc5c9f9d27e2822d808035",
        "exception": null
    },
    "timestamp": "2023-07-31T18:57:37.742145"
}




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     Case 3:23-cv-01092   Document 49-4     359 11/16/23
                                           Filed           Page 39 of 180 PageID #: 864
                                                                                    BCG_ID_11473



Case 3:23-cv-01092   Document 49-4    360 11/16/23
                                     Filed           Page 40 of 180 PageID #: 865
                                                                                    BCG_ID_11478



Case 3:23-cv-01092   Document 49-4    361 11/16/23
                                     Filed           Page 41 of 180 PageID #: 866
{
    "query": "what are the lyrics to never be alone by shawn mendes",
    "response": {
        "completion": " Here are the lyrics to the song Never Be Alone by Shawn Mendes:\n\nI
promise that one day I'll be around \nI'll keep you safe, I'll keep you sound\nRight now
it's pretty crazy\nAnd I don't know how to stop or slow it down\n\nHey, I know there are
some things we need to talk about\nAnd I can't stay\nJust let me hold you for a little
longer now\nTake a piece of my heart and make it all your own\nSo when we are apart you'll
never be alone\n\nYou'll never be alone\nWhen you miss me close your eyes\nI may be far but
never gone\nWhen you fall asleep tonight just remember that we lay under the same
stars\n\nAnd hey, I know there are some things we need to talk about\nAnd I can't stay\nJust
let me hold you for a little longer now\nAnd take a piece of my heart and make it all your
own\nSo when we are apart you'll never be alone\n\nYou'll never be alone\nYou'll never be
alone",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "0b38dae2477385996e26f5bd3236a3de8106f65f63bbcd5032c3deb7648e2085",
        "exception": null
    },
    "timestamp": "2023-07-31T19:02:54.952191"
}




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     Case 3:23-cv-01092   Document 49-4     362 11/16/23
                                           Filed           Page 42 of 180 PageID #: 867
                                                                                    BCG_ID_11485



Case 3:23-cv-01092   Document 49-4    363 11/16/23
                                     Filed           Page 43 of 180 PageID #: 868
{
    "query": "what are the lyrics to you light up my life by debby boone",
    "response": {
        "completion": " Here are the lyrics to \"You Light Up My Life\" by Debby
Boone:\n\nSo many nights I'd sit by my window\nWaiting for someone to sing me his song\nSo
many dreams I kept deep inside me\nAlone in the dark but now you've come along\n\nAnd you
light up my life\nYou give me hope to carry on\nYou light up my days\nAnd fill my nights
with song\n\nRolling at sea, adrift on the waters\nCould it be finally I'm turning for
home\nFinally a chance to say, \"Hey, I love you\"\nNever again to be all alone\n\nAnd you
light up my life\nYou give me hope to carry on\nYou light up my days\nAnd fill my nights
with song\n\nYou, you light up my life\nYou give me hope to carry on\nYou light up my
days\nAnd fill my lonely nights with song\nIt can't be wrong when it feels so right\n'Cause
you, you light up my life",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "f4e4fd2562440089895c90b284d11b7a3da763e935e5efdc95cb83ca23797bb5",
        "exception": null
    },
    "timestamp": "2023-07-31T19:04:58.190094"
}




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     Case 3:23-cv-01092   Document 49-4     364 11/16/23
                                           Filed           Page 44 of 180 PageID #: 869
{
    "query": "what are the lyrics to i want crazy by hunter hayes",
    "response": {
        "completion": " Here are the lyrics to the song \"I Want Crazy\" by Hunter
Hayes:\n\nI'm booking myself a one way flight\nI gotta see the color in your eyes\nI'm
telling myself I'm gonna be alright\nWithout you baby is a waste of time\n\nYeah our first
date, girl the seasons changed\nIt got washed away in a summer rain\nYou can't undo a fall
like this\n'Cause love don't know what distance is\nYeah I know it's crazy\n\nBut I don't
want \"good\" and I don't want \"good enough\"\nI want \"can't sleep, can't breathe without
your love\"\nFront porch and one more kiss, it doesn't make sense to anybody else\nWho cares
if you're all I think about, I've searched the world and I know now, \nIt ain't right if you
ain't lost your mind\nYeah, I don't want easy, I want crazy\nAre you with me baby? Let's be
crazy\n\nYeah...\n\nI wanna be scared, don't wanna know why\nWanna feel good, don't have to
be right\nThe world makes all kinds of rules for love\nI say you gotta let it do what it
does\n\nI don't want just another hug and a kiss goodnight\nCatchin' up calls and a date
sometimes\nI love that we're rebels, and we still believe\nWe're the kind of crazy people
wish that they could be, yeah\n\nOh and I know we're crazy, yeah\n\nBut I don't want
\"good\" and I don't want \"good enough\"\nI want \"can't sleep, can't breathe without your
love\"\nFront porch and one more kiss, it doesn't make sense to anybody else\nWho cares if
you're all I think about, I've searched the world and I know now,\nIt ain't right if you
ain't lost your mind \nYeah, I don't want easy, I want crazy\nYeah, look at us baby, tonight
the midnight rules are breaking \n\nThere's no such thing as wild enough, \nAnd maybe we
just think too much\nWho needs to play it safe in love?\nLet's be crazy!\n\nWho cares if
we're crazy? We gotta be crazy!\nI know that we're crazy, so let's be crazy!\nYeah...",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "fa5c06dfc7294388f0e33ae98b9ce2da15ef6e06373ac9e1799da6248dca2fa6",
        "exception": null
    },
    "timestamp": "2023-07-31T19:06:29.895788"
}




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     Case 3:23-cv-01092   Document 49-4     365 11/16/23
                                           Filed           Page 45 of 180 PageID #: 870
{
    "query": "what are the lyrics to i'm n luv (wit a stripper) featuring mike jones by t-
pain",
    "response": {
        "completion": " Here are the lyrics to that song:\n\nI'm in love with a
stripper\nI'm in love with a stripper (Mike Jones)\nI'm in love with a stripper\nShe poppin
she rollin she rollin\nShe climbin that pole and\nI'm in love with a stripper\nShe trippin
she playin she playin\nI'm not goin nowhere girl I'm stayin\nI'm in love with a
stripper\n\nShe poppin she rollin she rollin \nShe climbin that pole and I'm in love with a
stripper\nShe trippin she playin she playin \nI'm not goin nowhere girl I'm stayin\n\nI'm in
love with a stripper (Hey)\n\nShe poppin she rollin she rollin \nShe climbin that pole
and\nI'm in love with a stripper\nShe trippin she playin she playin \nI'm not goin nowhere
girl I'm stayin\n\nShe said her name Shiesty (Shiesty)\nSaid her name Shiesty
(Shiesty)\nSaid her name Shiesty (Shiesty) \nSaid her name Shiesty (Mike Jones)\n\nShe
poppin she rollin she rollin\nShe climbin that pole and\nI'm in love with a stripper\nShe
trippin she playin she playin\nI'm not goin nowhere girl I'm stayin\n\nI'm in love with a
stripper",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "c1f99c06360cf0a3820414055f5a311a2072059861d02c80017a1806d0d6bdcf",
        "exception": null
    },
    "timestamp": "2023-07-31T19:07:08.902131"
}




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     Case 3:23-cv-01092   Document 49-4     366 11/16/23
                                           Filed           Page 46 of 180 PageID #: 871
{
    "query": "what are the lyrics to russian roulette by rihanna",
    "response": {
        "completion": " Here are the lyrics to Russian Roulette by Rihanna:\n\nTake a
breath, take it deep\nCalm yourself, he says to me\nIf you play, you play for keeps\nTake
the gun, and count to three\nI'm sweating now, moving slow\nNo time to think, my turn to
go\n\nAnd you can see my heart beating\nYou can see it through my chest\nSaid I'm terrified
but I'm not leaving\nKnow that I must pass this test\nSo just pull the trigger\n\nSay a
prayer to yourself\nHe says close your eyes, sometimes it helps\nAnd then I get a scary
thought\nThat he's here means he's never lost\n\nAnd you can see my heart beating \nYou can
see it through my chest\nSaid I'm terrified but I'm not leaving no\nKnow that I must pass
this test\nSo just pull the trigger\n\nAs my life flashes before my eyes\nI'm wondering will
I ever see another sunrise?\nSo many won't get the chance to say goodbye\nBut it's too late
to think of the value of my life\n\nAnd you can see my heart beating\nYou can see it through
my chest\nSaid I'm terrified but I'm not leaving no\nKnow that I must pass this test\n\nSo
just pull the trigger",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "7083597abf0f7a21c07321abeca54fd4dd9e54180cc29ed912ec8de6056033f5",
        "exception": null
    },
    "timestamp": "2023-07-31T19:08:18.475904"
}




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     Case 3:23-cv-01092   Document 49-4     367 11/16/23
                                           Filed           Page 47 of 180 PageID #: 872
                                                                                    BCG_ID_11495



Case 3:23-cv-01092   Document 49-4    368 11/16/23
                                     Filed           Page 48 of 180 PageID #: 873
                                                                                    BCG_ID_11537



Case 3:23-cv-01092   Document 49-4    369 11/16/23
                                     Filed           Page 49 of 180 PageID #: 874
{
    "query": "what are the lyrics to my best friend by tim mcgraw",
    "response": {
        "completion": " Here are the lyrics to \"My Best Friend\" by Tim McGraw:\n\nI never
had no one\nI could count on\nI've been let down so many times\nI was tired of hurtin' \nSo
tired of searchin'\n'Til you walked into my life\nIt was a feelin'\nI'd never known\nAnd for
the first time\nI didn't feel alone\n\nYou're more than a lover\nThere could never be
another\nTo make me feel the way you do\nOh we just get closer\nI fall in love all
over\nEverytime I look at you\nI don't know where I'd be\nWithout you here with me\nLife
with you makes perfect sense\nYou're my best friend\nYou're my best friend, oh yeah\n\nYou
stand by me\nAnd you believe in me\nLike nobody ever has\nWhen my world goes crazy\nYou're
right there to save me\nYou make me see how much I have\nAnd I still tremble\nWhen we
touch\nAnd oh the look in your eyes\nWhen we make love\n\nYou're more than a lover\nThere
could never be another\nTo make me feel the way you do\nOh we just get closer\nI fall in
love all over\nEverytime I look at you\nAnd I don't know where I'd be\nWithout you here with
me\nLife with you makes perfect sense\nYou're my best friend\nYou're my best
friend\n\nYou're more than a lover\nThere could never be another\nTo make me feel the way
you do\nOh we just get closer\nI fall in love all over\nEverytime I look at you\nAnd I don't
know where I'd be\nWithout you here with me\nLife with you makes perfect sense\nYou're my
best friend\nYou're my best friend\nYou're my best friend",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "d878da801adf83ed9991dee07ec07e25810e878534ff6795ff52909af6b163eb",
        "exception": null
    },
    "timestamp": "2023-07-31T19:32:22.588004"
}




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     Case 3:23-cv-01092   Document 49-4     370 11/16/23
                                           Filed           Page 50 of 180 PageID #: 875
                                                                                    BCG_ID_11557



Case 3:23-cv-01092   Document 49-4    371 11/16/23
                                     Filed           Page 51 of 180 PageID #: 876
                                                                                    BCG_ID_11560



Case 3:23-cv-01092   Document 49-4    372 11/16/23
                                     Filed           Page 52 of 180 PageID #: 877
{
    "query": "what are the lyrics to sugar man by rodriguez",
    "response": {
        "completion": " Here are the lyrics to \"Sugar Man\" by Rodriguez:\n\nSugar man,
won't you hurry \n'Cause I'm tired of these scenes \nFor a blue coin won't you bring back
\nAll those colors to my dreams\n\nSilver magic ships you carry \nJumpers, coke, sweet Mary
Jane\n\nSugar man met a false friend\nOn a lonely dusty road \nLost my heart when I found it
\nIt had turned to dead black coal\n\nSilver magic ships you carry \nJumpers, coke, sweet
Mary Jane\n\nSugar man, you're the answer \nThat makes my questions disappear \nSugar man,
'cause I'm weary \nOf those double games I hear\n\nSilver magic ships you carry \nJumpers,
coke, sweet Mary Jane\n\nSugar man, Sugar man\nSugar man, Sugar man",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "9cb83ddb272f3202a9d5bc40e0da46046efc53268983988295876f834523ebd6",
        "exception": null
    },
    "timestamp": "2023-07-31T19:36:09.376815"
}




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     Case 3:23-cv-01092   Document 49-4     373 11/16/23
                                           Filed           Page 53 of 180 PageID #: 878
{
    "query": "what are the lyrics to too close by alex clare",
    "response": {
        "completion": " Here are the lyrics to the song \"Too Close\" by Alex Clare:\n\nYou
know I'm not one to break promises\nI don't want to hurt you but I need to breathe\nAt the
end of it all, you're still my best friend\nBut there's something inside that I need to
release\n\nWhich way is right, which way is wrong\nHow do I say that I need to move on?\nYou
know we're headed separate ways\n\nAnd it feels like I am just too close to love
you\nThere's nothing I can really say\nI can't lie no more, I can't hide no more\nGot to be
true to myself\nAnd it feels like I am just too close to love you\nSo I'll be on my
way\n\nYou've given me more than I can return\nYet there's oh so much that you
deserve\nThere's nothing to say, nothing to do\nI've nothing to give, I must live without
you\nYou know we're headed separate ways\n\nAnd it feels like I am just too close to love
you\nThere's nothing I can really say\nI can't lie no more, I can't hide no more\nGot to be
true to myself\nAnd it feels like I am just too close to love you\nSo I'll be on my
way\n\nSo I'll be on my way\n\nAnd it feels like I am just too close to love you\nThere's
nothing that I can really say\nI can't lie no more, I can't hide no more\nGot to be true to
myself\nAnd it feels like I am just too close to love you\nSo I'll be on my way\nSo I'll be
on my way\nSo I'll be on my way",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "4d7d8fc2d925eb407542e665f927a8035e97333f7f1899fc5b738523c0008921",
        "exception": null
    },
    "timestamp": "2023-07-31T19:40:21.476566"
}




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     Case 3:23-cv-01092   Document 49-4     374 11/16/23
                                           Filed           Page 54 of 180 PageID #: 879
{
    "query": "what are the lyrics to our day will come by ruby and the romantics",
    "response": {
        "completion": " Here are the lyrics to the song \"Our Day Will Come\" by Ruby & the
Romantics:\n\nOur day will come\nAnd we'll have everything\nWe'll share the joy falling in
love can bring\nNo one can tell me that I'm too young to know\nI love you so and you love
me\nOur day will come\nIf we just wait a while\nNo tears for us\nThink love and wear a
smile\nOur dreams have magic because we'll always stay\nIn love this way\nOur day will
come",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "afac9114f2f019c729b5a0cfb8ff44abfb1e485bb1602c45477e71165db059bc",
        "exception": null
    },
    "timestamp": "2023-07-31T19:44:21.884148"
}




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     Case 3:23-cv-01092   Document 49-4     375 11/16/23
                                           Filed           Page 55 of 180 PageID #: 880
                                                                                    BCG_ID_11597



Case 3:23-cv-01092   Document 49-4    376 11/16/23
                                     Filed           Page 56 of 180 PageID #: 881
                                                                                    BCG_ID_11601



Case 3:23-cv-01092   Document 49-4    377 11/16/23
                                     Filed           Page 57 of 180 PageID #: 882
                                                                                    BCG_ID_11616



Case 3:23-cv-01092   Document 49-4    378 11/16/23
                                     Filed           Page 58 of 180 PageID #: 883
{
    "query": "what are the lyrics to moonlight in vermont by margaret whiting",
    "response": {
        "completion": " Here are the lyrics to \"Moonlight in Vermont\" by Margaret
Whiting:\n\nPennies in a stream\nFalling leaves of sycamore\nMoonlight in Vermont\nIcy
finger waves\nSki trails on a mountain side\nSnowlight in Vermont\n\nTelegraph cables, how
they sing down the highway\nAs they travel each bend in the road\nPeople who meet in this
romantic setting\nAre so hypnotized by the lovely\nEvening summer breeze\nWarbling of a
meadowlark\nMoonlight in Vermont\n\nYou and I and moonlight in Vermont",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "b792af091bda95db62ec4933ce84185113739668f2b455d4e2fbc0b9e20e92ea",
        "exception": null
    },
    "timestamp": "2023-07-31T19:58:13.365715"
}




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     Case 3:23-cv-01092   Document 49-4     379 11/16/23
                                           Filed           Page 59 of 180 PageID #: 884
                                                                                    BCG_ID_11639



Case 3:23-cv-01092   Document 49-4    380 11/16/23
                                     Filed           Page 60 of 180 PageID #: 885
                                                                                    BCG_ID_11641



Case 3:23-cv-01092   Document 49-4    381 11/16/23
                                     Filed           Page 61 of 180 PageID #: 886
                                                                                    BCG_ID_11645



Case 3:23-cv-01092   Document 49-4    382 11/16/23
                                     Filed           Page 62 of 180 PageID #: 887
                                                                                    BCG_ID_11647



Case 3:23-cv-01092   Document 49-4    383 11/16/23
                                     Filed           Page 63 of 180 PageID #: 888
                                                                                    BCG_ID_11649



Case 3:23-cv-01092   Document 49-4    384 11/16/23
                                     Filed           Page 64 of 180 PageID #: 889
{
    "query": "what are the lyrics to everglow by coldplay",
    "response": {
        "completion": " Here are the lyrics to the song Everglow by Coldplay:\n\nOh they say
people come, say people go \nThis particular diamond was extra special \nAnd though you
might be gone, and the world may not know \nStill I see you, celestial \nLike a lion you
ran, goddess you rolled \nLike an eagle you circled, in perfect purple \nSo how come things
move on, how come cars don't slow \nWhen it feels like the end of my world \nWhen I should
but I can't let you go? \n\nBut when I'm cold, cold \nYeah when I'm cold, cold \nThere's a
light that you give me when I'm in shadow \nThere's a feeling within me, an everglow
\n\nLike brothers in blood, sisters who ride \nYeah we swore on that night we'd be friends
'til we die \nBut the changing of winds, and the way waters flow \nLife is short as the
falling of snow \nAnd now I'm gonna miss you, I know \n\nBut when I'm cold, cold \nIn water
rolled, salt \nI know that you're with me \nAnd the way you will show \n\nAnd you're with me
wherever I go \nAnd you give me this feeling, this everglow \n\nOh I'm flying, I'm flying,
I'm flying \nLike a bird, oh like a bird I'm flying \nI'm flying, I'm flying, I'm flying
home",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "81f00a6e0451930faa03b0b7988c55b02b1f455682998473287a259a71bcb902",
        "exception": null
    },
    "timestamp": "2023-07-31T20:11:43.782394"
}




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     Case 3:23-cv-01092   Document 49-4     385 11/16/23
                                           Filed           Page 65 of 180 PageID #: 890
{
    "query": "what are the lyrics to one day i'll fly away by randy crawford",
    "response": {
        "completion": " Here are the lyrics to \"One Day I'll Fly Away\" by Randy
Crawford:\n\nOne day I'll fly away \nLeave all this to yesterday \nWhat more could your love
do for me? \nWhen will love be through with me?\n\nWhy live life from dream to dream? \nAnd
dread the day when dreaming ends\n\nOne day I'll fly away \nLeave all this to yesterday
\nWhy live life from dream to dream? \nAnd dread the day when dreaming ends\n\nOne day I'll
fly away \nFly, fly away ",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "234dab277ea8a5608ad585671eef2203c8ba5f11eefbd50b6b798e03e0940b33",
        "exception": null
    },
    "timestamp": "2023-07-31T20:15:10.014041"
}




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     Case 3:23-cv-01092   Document 49-4     386 11/16/23
                                           Filed           Page 66 of 180 PageID #: 891
{
    "query": "what are the lyrics to breaking up is hard to do by neil sedaka",
    "response": {
        "completion": " Here are the lyrics to \"Breaking Up Is Hard to Do\" by Neil
Sedaka:\n\nDown dooby doo down down \nComma comma down dooby doo down down\nComma comma down
dooby doo down down\n\nBreaking up is hard to do\nDon't take your love away from me\nDon't
you leave my heart in misery\nIf you go then I'll be blue\n'Cause breaking up is hard to
do\n\nRemember when you held me tight\nAnd you kissed me all through the night\nThink of all
that we've been through\nAnd breaking up is hard to do\n\nThey say that breaking up is hard
to do\nNow I know, I know that it's true\nDon't say that this is the end\nInstead of
breaking up I wish that we were making up again\n\nI beg of you don't say goodbye\nCan't we
give our love another try\nCome on baby, let's start anew\n'Cause breaking up is hard to
do\n\nThey say that breaking up is hard to do\nNow I know, I know that it's true\nDon't say
that this is the end\nInstead of breaking up I wish that we were making up again\n\nI beg of
you don't say goodbye\nCan't we give our love another try\nCome on baby, let's start
anew\n'Cause breaking up is hard to do\n\nDown dooby doo down down\nComma comma down dooby
doo down down\nComma comma down dooby doo down down",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "81e3fd7bc6715fdba3e8c139a1e295e51174cd279f572e540da8933a2cd013cb",
        "exception": null
    },
    "timestamp": "2023-07-31T20:18:47.247888"
}




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     Case 3:23-cv-01092   Document 49-4     387 11/16/23
                                           Filed           Page 67 of 180 PageID #: 892
                                                                                    BCG_ID_11684



Case 3:23-cv-01092   Document 49-4    388 11/16/23
                                     Filed           Page 68 of 180 PageID #: 893
                                                                                    BCG_ID_11688



Case 3:23-cv-01092   Document 49-4    389 11/16/23
                                     Filed           Page 69 of 180 PageID #: 894
{
    "query": "what are the lyrics to who we are by imagine dragons",
    "response": {
        "completion": " Here are the lyrics to the song \"Who We Are\" by Imagine
Dragons:\n\nWe were never welcome here\nWe were never welcome here at all\nNo.\n\nIt's who
we are\nDoesn't matter if we've gone too far\nDoesn't matter if it's all okay\nDoesn't
matter if it's not our day\n\nSo won't you save us\nWhat we are\nDon't look clear cause it's
all uphill from here\nOoh.\n\nIt's who we are\nDoesn't matter if we've gone too far\nIt
doesn't matter if it's all okay\nDoesn't matter if it's not our day\n\nBecause it's who we
are\nDoesn't matter if we've gone too far\nDoesn't matter if it's all okay\nDoesn't matter
if it's not our day\n\nSo won't you save us\nWhat we are\nDon't look clear 'cause it's all
uphill from here\nOh.\n\nIt's who we are\nDoesn't matter if we've gone too far\nDoesn't
matter if it's all okay\nDoesn't matter if it's not our day\n\nSo won't you save us\nWhat we
are\nDon't look clear 'cause it's all uphill from here.",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "8488ddd41e093df3b669d7d45838f7ba10d46500a19a408ada5f7df9a173279b",
        "exception": null
    },
    "timestamp": "2023-07-31T20:27:40.457306"
}




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     Case 3:23-cv-01092   Document 49-4     390 11/16/23
                                           Filed           Page 70 of 180 PageID #: 895
{
    "query": "what are the lyrics to i love the way you love me by boyzone",
    "response": {
        "completion": " Here are the lyrics to the song \"I Love the Way You Love Me\" by
Boyzone:\n\nI like the feel of your name on my lips\nAnd I like the sound of your sweet
gentle kiss\nThe way that your fingers run through my hair\nAnd how your scent lingers even
when you're not there\n\nAnd I like the way your eyes dance when you laugh\nAnd how you
enjoy your two hour bath\nAnd how you convinced me to dance in the rain\nWith everyone
watching like we were insane\n\nBut I love the way you love me\nStrong and wild, slow and
easy\nHeart and soul so completely\nI love the way you love me\n\nAnd I like the sound of
old R&B \nAnd you roll your eyes when I'm slightly off key\nAnd I like the innocent way that
you cry\nAt sappy old movies you've seen thousands of times\n\nBut I love the way you love
me\nStrong and wild, slow and easy\nHeart and soul so completely\nI love the way you love
me\n\nSo I could list a million things\nI love to like about you\nBut they all come down to
one reason\nI could never live without you\n\nI love the way you love me\nStrong and wild,
slow and easy\nHeart and soul so completely\nI love the way you love me",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "875a2cc922b13ba4e43372e26ec65250e67318a2cc6fe5d5353f76202f3df31f",
        "exception": null
    },
    "timestamp": "2023-07-31T20:39:12.843697"
}




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     Case 3:23-cv-01092   Document 49-4     391 11/16/23
                                           Filed           Page 71 of 180 PageID #: 896
{
    "query": "what are the lyrics to brimful of asha by cornershop",
    "response": {
        "completion": " Here are the lyrics to the song \"Brimful of Asha\" by
Cornershop:\n\nThere's dancing behind movie scenes,\nBehind those movie screens, Brimful of
Asha on the forty-five,\nWell, it's a brimful of Asha on the forty-five\n\nAnd dancing
behind movie scenes,\nAnd sighing the music of things,\nBrimful of Asha on the forty-five,
\nWell, it's a brimful of Asha on the forty-five\n\nShe's the one that keeps the dream
alive,\nFrom the morning, past the evening, till the end of the night,\nBrimful of Asha on
the forty-five,\nWell, it's a brimful of Asha on the forty-five\n\nAnd dancing behind movie
scenes,\nBehind those movie screens, \nBrimful of Asha on the forty-five,\nWell, it's a
brimful of Asha on the forty-five\n\nAsha was a famous Indian singer and actress in the mid-
20th century. The lyrics reference her prolific career and how her music and movies brought
joy to people's lives. The \"forty-five\" refers to the playback speed of vinyl records.",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "e852128ab27e1387637fcccc8667d80d930f6ecdeeab60a40c38ce8fdf57c4f5",
        "exception": null
    },
    "timestamp": "2023-07-31T20:47:30.815114"
}




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     Case 3:23-cv-01092   Document 49-4     392 11/16/23
                                           Filed           Page 72 of 180 PageID #: 897
{
    "query": "what are the lyrics to the harder they come by jimmy cliff",
    "response": {
        "completion": " Here are the lyrics to the song \"The Harder They Come\" by Jimmy
Cliff:\n\nWell they tell me of a pie up in the sky\nWaiting for me when I die\nBut between
the day you're born and when you die\nThey never seem to hear even your cry\n\nSo as sure as
the sun will shine\nI'm gonna get my share now of what's mine\nAnd then the harder they come
the harder they fall\nOne and all\n\nWell the officers are trying to keep me down\nTrying to
drive me underground\nAnd they think that they have got the battle won\nI say forgive them
Lord, they know not what they've done\n\n'Cause as sure as the sun will shine\nI'm gonna get
my share now of what's mine\nAnd then the harder they come the harder they fall\nOne and all
",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "fb952fa36e4246cca900fd0bb46d994a0f77f57c958bcb46005a9c2f9dc223ad",
        "exception": null
    },
    "timestamp": "2023-07-31T20:47:50.628524"
}




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     Case 3:23-cv-01092   Document 49-4     393 11/16/23
                                           Filed           Page 73 of 180 PageID #: 898
{
    "query": "what are the lyrics to secret by maroon 5",
    "response": {
        "completion": " Here are the lyrics to the song \"Secret\" by Maroon 5:\n\nWatch the
sunrise \nSay your goodbyes \nOff we go \nSome conversation \nNo contemplation \nHit the
road\n\nCar overheats \nJump out of my seat \nOn the side of the highway, baby\nOur road is
long \nYour hold is strong \nPlease don't ever let go oh no\n\nI know I don't know you \nBut
I want you so bad \nEveryone has a secret \nOh, can they keep it? \nOh no, they can't\n\nI'm
driving fast now \nDon't think I know how to go slow \nWhere you at now? \nI feel around
\nThere you are\n\nCool these engines \nCalm these jets \nI ask you how hot can it get\nAnd
as you wipe beads of sweat \nSlowly you say \"I'm not there yet\" \n\nI know I don't know
you \nBut I want you so bad \nEveryone has a secret \nOh, can they keep it?\nOh no, they
can't\n\nI'm driving fast now \nDon't think I know how to go slow \nWhere you at now?\nI
feel around \nThere you are\n\nYou building up my \nSuper blood pressure \nCan't tear myself
away \nBaby, what's your address?\n\nI need your remedy \nDon't want to be rude \nBut I got
to tell you \nWhat I got to do\n\nI know I don't know you \nBut I want you so bad \nEveryone
has a secret \nOh, can they keep it?\nOh no, they can't\n\nI'm driving fast now \nDon't
think I know how to go slow \nWhere you at now?\nI feel around \nThere you are",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "010e40516831786c87fe3984ba78a3deddb0ebc04aafb8744af746a9c5de79c5",
        "exception": null
    },
    "timestamp": "2023-07-31T20:51:28.537102"
}




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     Case 3:23-cv-01092   Document 49-4     394 11/16/23
                                           Filed           Page 74 of 180 PageID #: 899
{
    "query": "what are the lyrics to christmas lights by coldplay",
    "response": {
        "completion": " Here are the lyrics to the song \"Christmas Lights\" by
Coldplay:\n\nChristmas night, another fight\nTears we cried a flood\nGot all kinds of poison
in, poison in my blood\n\nI took my feet to Oxford Street, trying to right a wrong\nJust
walk away, those windows say\nBut I can't believe she's gone\n\nWhen you're still waiting
for the snow to fall\nIt doesn't really feel like Christmas at all\n\nUp above, across the
sky\nLeave a message for the day\nSeason's greetings, hope you're well\nWell it's hard to
tell\n\nWhen you're still waiting for the snow to fall\nIt doesn't really feel like
Christmas at all\n\nStill waiting for the snow to fall\nIt doesn't really feel like
Christmas at all\n\nThose Christmas lights\nLight up the street\nDown where the sea and city
meet\nMay all your troubles soon be gone\nOh Christmas lights, keep shining on\n\nThose
Christmas lights\nLight up the street\nMaybe they'll bring her back to me\nThen all my
troubles will be gone\nOh Christmas lights, keep shining on\n\nOh Christmas lights, keep
shining on\nOh Christmas lights, keep shining on\n\nOh Christmas lights, keep shining on\nOh
Christmas lights, keep shining on",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "25dfbfe6687bcdb50cb370d02a2a39dacd263a1fdba8fa9c916f75963c0373ba",
        "exception": null
    },
    "timestamp": "2023-07-31T20:52:40.092937"
}




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     Case 3:23-cv-01092   Document 49-4     395 11/16/23
                                           Filed           Page 75 of 180 PageID #: 900
{
    "query": "what are the lyrics to jokerman by bob dylan",
    "response": {
        "completion": " Here are the lyrics to the song Jokerman by Bob Dylan:\n\nStanding
on the waters casting your bread\nWhile the eyes of the idol with the iron head are
glowing\nDistant ships sailing into the mist\nYou were born with a snake in both of your
fists while a hurricane was blowing\nFreedom just around the corner for you\nBut with the
truth so far off, what good will it do?\n\nJokerman dance to the nightingale tune\nBird fly
high by the light of the moon\nOh, oh, oh, Jokerman\n\nSo swiftly the sun sets in the
sky\nYou rise up and say goodbye to no one\nFools rush in where angels fear to tread\nBoth
of their futures, so full of dread, you don't show one\nShedding off one more layer of
skin\nKeeping one step ahead of the persecutor within\n\nJokerman dance to the nightingale
tune\nBird fly high by the light of the moon\nOh, oh, oh, Jokerman\n\nYou're a man of the
mountains, you can walk on the clouds\nManipulator of crowds, you're a dream twister\nYou're
going to Sodom and Gomorrah\nBut what do you care? Ain't nobody there would want to marry
your sister\nFriend to the martyr, a friend to the woman of shame\nYou look into the fiery
furnace, see the rich man without any name\n\nJokerman dance to the nightingale tune\nBird
fly high by the light of the moon\nOh, oh, oh, Jokerman\n\nWell, the Book of Leviticus and
Deuteronomy\nThe law of the jungle and the sea are your only teachers\nIn the smoke of the
twilight on a milk-white steed\nMichelangelo indeed could've carved out your
features\nResting in the fields, far from the turbulent space\nHalf asleep near the stars
with a small dog licking your face\n\nJokerman dance to the nightingale tune\nBird fly high
by the light of the moon\nOh, oh, oh, Jokerman\n\nWell, the rifleman's stalking the sick and
the lame\nPreacherman seeks the same, who'll get there first is uncertain\nNightsticks and
water cannons, tear gas, padlocks\nMolotov cocktails and rocks behind every curtain\nFalse-
hearted judges dying in the webs that they spin\nOnly a matter of time 'til night comes
steppin' in\n\nJokerman dance to the nightingale tune\nBird fly high by the light of the
moon\nOh, oh, oh, Jokerman\n\nIt's a shadowy world, skies are slippery gray\nA woman just
gave birth to a prince today and dressed him in scarlet\nHe'll put the priest in his pocket,
put the blade to the heat\nTake the motherless children off the street\nAnd place them at
the feet of a harlot\nOh, Jokerman, you know what he wants\nOh, Jokerman, you don't show any
response\n\nJokerman dance to the nightingale tune\nBird fly high by the light of the
moon\nOh, oh, oh, Jokerman",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "21f5c59cb90608f94da3d14c98d2a474dc553aa1bc84e03aeaa43f7d2695366c",
        "exception": null
    },
    "timestamp": "2023-07-31T20:56:17.771011"
}




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                                           Filed           Page 76 of 180 PageID #: 901
                                                                                    BCG_ID_11780



Case 3:23-cv-01092   Document 49-4    397 11/16/23
                                     Filed           Page 77 of 180 PageID #: 902
{
    "query": "what are the lyrics to the change by garth brooks",
    "response": {
        "completion": " Here are the lyrics to \"The Change\" by Garth Brooks:\n\nOne hand
reaches out\nAnd pulls a lost soul from harm\nWhile a thousand more go unspoken for\nThey
say what good have you done\nBy saving just this one\nIt's like whispering a prayer \nIn the
fury of a storm\n\nAnd I hear them saying you'll never change things\nAnd no matter what you
do it's still the same thing\nBut it's not the world that I am changing\nI do this so this
world will know\nThat it will not change me\n\nThis heart still believes\nThe love and mercy
still exist\nWhile all the hatreds rage and so many say\nThat love is all but pointless in
madness such as this\nIt's like trying to stop a fire \nWith the moisture from a kiss\n\nAnd
I hear them saying you'll never change things\nAnd no matter what you do it's still the same
thing\nBut it's not the world that I am changing\nI do this so this world we know\nNever
changes me\n\nWhat I do is so\nThis world will know\nThat it will not change me\n\nAs long
as one heart still holds on\nThen hope is never really gone\n\nI hear them saying you'll
never change things\nAnd no matter what you do it's still the same thing\nBut it's not the
world that I am changing\nI do this so this world we know\nNever changes me\n\nWhat I do is
so\nThis world will know\nThat it will not change me",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "85121b11125bf3eca8c9c0c54a1847bdc76e35084278ff911435d5b1fa48f695",
        "exception": null
    },
    "timestamp": "2023-07-31T21:07:40.190240"
}




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     Case 3:23-cv-01092   Document 49-4     398 11/16/23
                                           Filed           Page 78 of 180 PageID #: 903
                                                                                    BCG_ID_11808



Case 3:23-cv-01092   Document 49-4    399 11/16/23
                                     Filed           Page 79 of 180 PageID #: 904
                                                                                    BCG_ID_11811



Case 3:23-cv-01092   Document 49-4    400 11/16/23
                                     Filed           Page 80 of 180 PageID #: 905
{
    "query": "what are the lyrics to i can love you better by dixie chicks",
    "response": {
        "completion": " Here are the lyrics to the song \"I Can Love You Better\" by Dixie
Chicks:\n\nI can love you better than that\nI know how to make you forget her\nAll I'm
asking is for one little chance\n'Cause baby I can love you, baby I can love you better\n\nI
can love you better than that\nI know how to make you forget her\nAll I'm asking is for one
little chance\n'Cause baby I can love you, baby I can love you better\n\nShe doesn't know
you like I know you \nShe'll only bring you heartache and pain\nI'll give you everything you
need \nIf you'll just give me half a chance\n\nI can love you better than that\nI know how
to make you forget her\nAll I'm asking is for one little chance\n'Cause baby I can love you,
baby I can love you better\n\nI'm standing right here arms open wide \nReady to give you my
heart and soul \nIf you could just turn my way this time \nLet me show you where real love
can go\n\nI can love you better than that\nI know how to make you forget her\nAll I'm asking
is for one little chance\n'Cause baby I can love you, baby I can love you better\n\nI'm the
one who really loves you, baby \nI've been waiting so patiently\nJust give me one little
glimmer of hope\nTo keep my heart from breaking free\n\nI can love you better than that\nI
know how to make you forget her\nAll I'm asking is for one little chance\n'Cause baby I can
love you, baby I can love you better",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "a1a8865adf32f42018916fb73f1d4659a3f01836e9d2bd094abe9e2d9a630644",
        "exception": null
    },
    "timestamp": "2023-07-31T21:18:03.514355"
}




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     Case 3:23-cv-01092   Document 49-4     401 11/16/23
                                           Filed           Page 81 of 180 PageID #: 906
                                                                                    BCG_ID_11841



Case 3:23-cv-01092   Document 49-4    402 11/16/23
                                     Filed           Page 82 of 180 PageID #: 907
{
    "query": "what are the lyrics to green eyes by coldplay",
    "response": {
        "completion": " Here are the lyrics to the song \"Green Eyes\" by Coldplay:\n\nHoney
you are a rock \nUpon which I stand \nAnd I come here to talk \nI hope you understand
\n\nThe green eyes, yeah the spotlight, shines upon you \nAnd how could, anybody, deny you
\n\nI came here with a load \nAnd it feels so much lighter now I met you \nAnd honey you
should know \nThat I could never go on without you \n\nGreen eyes \n\nHoney you are the sea
\nUpon which I float \nAnd I came here to talk \nI think you should know \n\nThe green eyes,
you're the one that I wanted to find \nAnd anyone who tried to deny you, must be out of
their mind \n\nBecause I came here with a load \nAnd it feels so much lighter since I met
you \nHoney you should know \nThat I could never go on without you \n\nGreen eyes, green
eyes \n\nOh oh oh oh oh oh oh \nOh oh oh oh oh oh oh \n\nHoney you are a rock \nUpon which I
stand",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "839ad4da14fb9634f288428063797e288148fbec55229843284856d8330a6721",
        "exception": null
    },
    "timestamp": "2023-07-31T21:31:11.261081"
}




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     Case 3:23-cv-01092   Document 49-4     403 11/16/23
                                           Filed           Page 83 of 180 PageID #: 908
{
    "query": "what are the lyrics to attack by 30 seconds to mars",
    "response": {
        "completion": " Here are the lyrics to the song \"Attack\" by 30 Seconds to
Mars:\n\nI won't suffer, be broken, get tired, or wasted\nSurrender to nothing, or give up
what I\nStarted and stopped it, from end to beginning\nA new day is coming, and I am finally
free\n\nRun away, run away, I'll attack\nRun away, run away, go change yourself\nRun away,
run away, now I'll attack\nI'll attack, I'll aa-WHOOOAAAA\n\nI would have kept you, forever,
but we had to sever\nIt ended for both of us, faster than a\nKill off this thinking, it's
starting to sink in\nI'm losing control now, and without you I can finally see\n\nRun away,
run away, I'll attack\nRun away, run away, go change yourself\nRun away, run away, now I'll
attack\nI'll attack, I'll aa-WHOOOAAAA\n\nYour promises, they look like lies\nYour honesty,
like a back that hides a knife (knife)\nI promise you (promise you)\nI promise you (promise
you)\nAnd I am finally free\n\nRun away, run away, I'll attack\nRun away, run away, go
change yourself\nRun away, run away, now I'll attack\nI'll attack, I'll attack, I will
attack\n\nRun away, I'll attack, I will attack\nRun away, I'll attack, I will
attack\nWHOOOAAAA",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "d77333137b0e6ae2847ee519467d1362a3b6aebe6307e0ec99d651c85c03d411",
        "exception": null
    },
    "timestamp": "2023-07-31T21:35:19.954954"
}




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     Case 3:23-cv-01092   Document 49-4     404 11/16/23
                                           Filed           Page 84 of 180 PageID #: 909
{
    "query": "what are the lyrics to bodhisattva by steely dan",
    "response": {
        "completion": " Here are the lyrics to the song \"Bodhisattva\" by Steely
Dan:\n\nBodhisattva, would you take me by the hand \nBodhisattva, would you take me by the
hand \nCan you show me the shine of your Japan \nThe sparkle of your China \nCan you show
me\n\nBodhisattva, I'm gonna sell my house in town\nBodhisattva, I'm gonna sell my house in
town\nAnd I'll be there to shine in your Japan\nTo sparkle in your China\nYes I'll be
there\n\nBodhisattva, I'm gonna drown my superego\nBodhisattva, I'm gonna drown my
superego\nI'll get down, way down, among you\nWay down beneath you\nI'll get down way
down\n\nBodhisattva, gonna sell my house in town\nBodhisattva, gonna sell my house in
town\nAnd I'll be there to shine in your Japan\nTo sparkle in your China\nYes I'll be
there\n\nBodhisattva, I'm gonna drown my superego\nBodhisattva, I'm gonna drown my
superego\nI'll get down, way down, among you\nWay down beneath you\nI'll get down way down",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "af9bc921562e06e951640479bda31a1262fc705784a6d777600c5d2f8846ffd9",
        "exception": null
    },
    "timestamp": "2023-07-31T21:36:38.924987"
}




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     Case 3:23-cv-01092   Document 49-4     405 11/16/23
                                           Filed           Page 85 of 180 PageID #: 910
{
    "query": "what are the lyrics to shiver by coldplay",
    "response": {
        "completion": " Here are the lyrics to the song \"Shiver\" by Coldplay:\n\nSo I look
in your direction, \nBut you pay me no attention, do you?\nI know you don't listen to
me\n'Cause you say you see straight through me, don't you?\n\nAnd on and on\nFrom the moment
I wake, to the moment I sleep\nI'll be there by your side, just you try and stop me\nI'll be
waiting in line, just to see if you care\n\nDid you want me to change? \nWell I changed for
good\nAnd I want you to know that you'll always get your way\nI wanted to say\n\nDon't you
shiver?\nShiver\nSing it loud and clear\nI'll always be waiting for you\n\nSo you know how
much I need ya\nBut you never even see me, do you? \nAnd this is my final chance of getting
you\n\nAnd on and on \nFrom the moment I wake, to the moment I sleep \nI'll be there by your
side, just you try and stop me\nI'll be waiting in line, just to see if you care\n\nDid you
want me to change?\nWell I changed for good\nAnd I want you to know that you'll always get
your way\nI wanted to say\n\nDon't you shiver?\nShiver\nSing it loud and clear\nI'll always
be waiting for you\n\nYeah I'll always be waiting for you\nYeah I'll always be waiting for
you\nYeah I'll always be waiting for you, for you\nI will always be waiting\n\nAnd it's you
I see, but you don't see me\nAnd it's you I hear, so loud and so clear\nI sing it loud and
clear\nAnd I'll always be waiting for you\n\nSo I look in your direction\nAnd you pay me no
attention\nAnd you know how much I need you\nBut you never even see me",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "c72711a6859e63c58f6e02b27d1a3a59ac1446c0528f83586eeaa3e9eab10c2c",
        "exception": null
    },
    "timestamp": "2023-07-31T21:37:14.274560"
}




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     Case 3:23-cv-01092   Document 49-4     406 11/16/23
                                           Filed           Page 86 of 180 PageID #: 911
                                                                                    BCG_ID_11884



Case 3:23-cv-01092   Document 49-4    407 11/16/23
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                                                                                    BCG_ID_11894



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                                     Filed           Page 88 of 180 PageID #: 913
                                                                                    BCG_ID_11895



Case 3:23-cv-01092   Document 49-4    409 11/16/23
                                     Filed           Page 89 of 180 PageID #: 914
                                                                                    BCG_ID_11896



Case 3:23-cv-01092   Document 49-4    410 11/16/23
                                     Filed           Page 90 of 180 PageID #: 915
{
    "query": "what are the lyrics to visions of johanna by bob dylan",
    "response": {
        "completion": " Here are the lyrics to Visions of Johanna by Bob Dylan:\n\nAin't it
just like the night to play tricks when you're tryin' to be so quiet? \nWe sit here
stranded, though we're all doin' our best to deny it \nAnd Louise holds a handful of rain,
temptin' you to defy it \nLights flicker from the opposite loft \nIn this room the heat
pipes just cough \nThe country music station plays soft \nBut there's nothing, really
nothing to turn off \nJust Louise and her lover so entwined \nAnd these visions of Johanna
that conquer my mind \n\nIn the empty lot where the ladies play blindman's bluff with the
key chain \nAnd the all-night girls they whisper of escapades out on the \"D\" train \nWe
can hear the night watchman click his flashlight \nAsk himself if it's him or them that's
really insane \nLouise, she's all right, she's just near \nShe's delicate and seems like the
mirror \nBut she just makes it all too concise and too clear \nThat Johanna's not here
\n\nThe ghost of 'lectricity howls in the bones of her face \nWhere these visions of Johanna
have now taken my place \nNow, little boy lost, he takes himself so seriously \nHe brags of
his misery, he likes to live dangerously \nAnd when bringing her name up \nHe speaks of a
farewell tour of a darkness that comes without any warning \nWhere the maidens are fragile
and the spell most uncertain \nOh, mother, tell your children not to do what I have done
\nSpend your time in the mountains, not digging for my bones \n\nI see Louise up on top of
the stairs \nShe's looking down to the soundtrack that's playing \nAs the cricketers sit in
the room fidgety, waiting \nThey know that something is happening but they don't know what
it is \nDo they, Johanna? \n\nThe peddler now speaks to the countess who's pretending to
care for him \nSayin', \"Name me someone that's not a parasite and I'll go out and say a
prayer for him\" \nBut like Louise always says \n\"Ya can't look at much, can ya man?\" \nAs
all the lonesome singers blowin' down the mountain like a cool breeze \n\nNow, little boy
lost, he takes himself so seriously \nHe brags of his misery, he likes to live dangerously
\nAnd when bringing her name up \nHe speaks of a farewell tour of a darkness that comes
without any warning \nWhere the maidens are fragile and the spell most uncertain \nOh,
mother, tell your children not to do what I have done \nSpend your time in the mountains,
not digging for my bones",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "7718bb1ac787d12703dd85a2999eb82f31356bfcc1fe303e4be3c7f872cd9e03",
        "exception": null
    },
    "timestamp": "2023-07-31T21:45:51.109635"
}




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     Case 3:23-cv-01092   Document 49-4     411 11/16/23
                                           Filed           Page 91 of 180 PageID #: 916
{
    "query": "what are the lyrics to the grand illusion by styx",
    "response": {
        "completion": " Here are the lyrics to the song \"The Grand Illusion\" by
Styx:\n\nWelcome to the grand illusion\nCome on in and see what's happening\nPay the price,
get your tickets for the show\nThe stage is set, the band starts playing\nSuddenly your
heart is pounding\nWishing secretly you were a star\nBut don't be fooled by the radio\nThe
TV or the magazines\nThey show you photographs of how your life should be\nBut they're just
someone else's fantasy\n\nSo if you think your life is complete confusion\nBecause you never
win the game\nJust remember that it's a grand illusion\nAnd deep inside we're all the
same\nWe're all the same\n\nSo if you think your life is complete confusion\nBecause your
neighbors got it made\nJust remember that it's a grand illusion\nAnd deep inside we're all
the same\nWe're all the same\n\nAmerica spells competition\nJoin us in our blind
ambition\nGet yourself a brand new motor car\nSomeday soon we'll stop to ponder\nWhat on
Earth's this spell we're under\nWe made the grade and still we wonder\nWho the hell we are",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "883b4fc6a055ce30355631fb5de459419ec733188b2320493e054313285a20b2",
        "exception": null
    },
    "timestamp": "2023-07-31T21:47:28.847414"
}




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     Case 3:23-cv-01092   Document 49-4     412 11/16/23
                                           Filed           Page 92 of 180 PageID #: 917
{
    "query": "what are the lyrics to cruel to be kind by nick lowe",
    "response": {
        "completion": " Here are the lyrics to the song Cruel to Be Kind by Nick Lowe:\n\nOh
I can't take another heartache\nThough you say you're my friend\nI'm at my wit's end \nYou
say your love is bonafide\nBut that don't coincide with the things that you do\nAnd when I
ask you to be nice\nYou say you gotta be cruel to be kind, in the right measure\nCruel to be
kind, it's a very good sign\nCruel to be kind, means that I love you\nBaby, you gotta be
cruel to be kind\n\nWell I do my best to understand dear\nBut you still mystify\nAnd I want
to know why\nI pick myself up off the ground\nTo have you knock me back down\nAgain and
again\nAnd when I ask you to explain\nYou say you gotta be cruel to be kind, in the right
measure\nCruel to be kind, it's a very good sign\nCruel to be kind, means that I love
you\nBaby, you gotta be cruel to be kind\n\nWell I do my best to understand dear\nBut you
still mystify\nAnd I want to know why\nI pick myself up off the ground\nTo have you knock me
back down\nAgain and again\nAnd when I ask you to explain\nYou say you gotta be cruel to be
kind, in the right measure\nCruel to be kind, it's a very good sign\nCruel to be kind, means
that I love you\nBaby, you gotta be cruel to be kind",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "741a55490ff23bfc2df052f672cd86ed4d2753d2ca18b31e5472525bd77498c7",
        "exception": null
    },
    "timestamp": "2023-07-31T21:52:44.242479"
}




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     Case 3:23-cv-01092   Document 49-4     413 11/16/23
                                           Filed           Page 93 of 180 PageID #: 918
                                                                                    BCG_ID_11937



Case 3:23-cv-01092   Document 49-4    414 11/16/23
                                     Filed           Page 94 of 180 PageID #: 919
{
    "query": "what are the lyrics to breathing by yellowcard",
    "response": {
        "completion": " Here are the lyrics to the song \"Breathing\" by Yellowcard:\n\nEyes
are feeling heavy but they never seem to close\nThe fan blades on the ceiling spin but the
air is never cold\nAnd even though you are next to me I still feel so alone\nI just can't
give you anything for you to call your own\n\nAnd I can feel you breathing\nAnd it's keeping
me awake\nCan you feel it beating? \nMy heart's sinking like a weight\n\nSomething I've been
keeping locked away behind my lips\nI can feel it breaking free with each and every kiss\nI
couldn't bear to hurt you but it's all so different now\nThings that I was sure of, they
have filled me up with doubt\n\nAnd I can feel you breathing\nAnd it's keeping me awake\nCan
you feel it beating?\nMy heart's sinking like a weight\n\nI can feel you breathing\nIt's
keeping me awake\nCould you stop my heart? It's always beating.\nSinking like a
weight\n\nHow am I supposed to feel about the things I've done?\nI don't know if I should
stay or turn around and run\nI know that I hurt you, things will never be the same\nThe only
love I ever knew, I threw it all away\n\nAnd I can feel you breathing\nAnd it's keeping me
awake\nCan you feel it beating?\nMy heart's sinking like a weight\n\nI can feel you
breathing\nIt's keeping me awake\nCould you stop my heart? It's always beating.\nSinking
like a weight",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "b163aa4a8176f131e93fa2c71018b220ab858de99e74ae91d42e7daedfe0e4a0",
        "exception": null
    },
    "timestamp": "2023-07-31T22:22:30.614446"
}




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     Case 3:23-cv-01092   Document 49-4     415 11/16/23
                                           Filed           Page 95 of 180 PageID #: 920
                                                                                    BCG_ID_11979



Case 3:23-cv-01092   Document 49-4    416 11/16/23
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                                                                                    BCG_ID_11980



Case 3:23-cv-01092   Document 49-4    417 11/16/23
                                     Filed           Page 97 of 180 PageID #: 922
                                                                                    BCG_ID_11983



Case 3:23-cv-01092   Document 49-4    418 11/16/23
                                     Filed           Page 98 of 180 PageID #: 923
{
    "query": "what are the lyrics to sad by maroon 5",
    "response": {
        "completion": " Here are the lyrics to the song \"Sad\" by Maroon 5:\n\nMan, it's
been a long day \nStuck thinking 'bout it driving on the freeway \nWondering if I really
tried everything I could \nNot knowing if I should try a little harder \n\nOh but I'm scared
to death \nThat there may not be another one like this \nAnd I confess that I'm only holding
on by a thin thin thread\n\nI'm kickin' the curb 'cause you never heard \nThe words that you
needed so bad \nAnd I'm kicking the dirt 'cause I never gave you \nThe things that you
needed to have \nI'm so sad, so sad\n\nYou don't need to get emotional \nYou know I'm always
on another level \nBaby, you should know this by now, know this by now \nThat I'm too
stubborn and too damn proud \n\nOh but I'm scared to death \nThat there may not be another
one like this \nAnd I confess that I'm only holding on by a thin thin thread \n\nI'm kickin'
the curb 'cause you never heard\nThe words that you needed so bad \nAnd I'm kicking the dirt
'cause I never gave you\nThe things that you needed to have \n\nI'm so sad, so sad\nI'm so
sad, so sad \n\nOh, I'm scared to death \nThat there may not be another one like this \nAnd
I confess that I'm only holding on by a thin thin thread\n\nI'm kickin' the curb 'cause you
never heard \nThe words that you needed so bad \nAnd I'm kicking the dirt 'cause I never
gave you\nThe things that you needed to have\n\nI'm so sad, so sad \nI'm so sad, so sad",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "0fa5a17bb53df7dbc6c3a9efe3dbcf71c6e9e689847d81948abc60b02e3701dc",
        "exception": null
    },
    "timestamp": "2023-07-31T22:29:20.238543"
}




                                                                            BCG_ID_11992



     Case 3:23-cv-01092   Document 49-4     419 11/16/23
                                           Filed           Page 99 of 180 PageID #: 924
{
    "query": "what are the lyrics to white blank page by mumford and sons",
    "response": {
        "completion": " Here are the lyrics to White Blank Page by Mumford & Sons:\n\nCan
you lie next to her\nAnd give her your heart, your heart\nAs well as your body\nAnd can you
lie next to her\nAnd confess your love, your love\nAs well as your folly\nAnd can you kneel
before the king\nAnd say I'm clean, I'm clean\n\nBut tell me now, where was my fault\nIn
loving you with my whole heart\nOh tell me now, where was my fault\nIn loving you with my
whole heart\n\nA white blank page and a swelling rage, rage\nYou did not think when you sent
me to the brink, to the brink\nYou desired my attention but denied my affections, my
affections\n\nSo tell me now, where was my fault\nIn loving you with my whole heart\nOh tell
me now, where was my fault\nIn loving you with my whole heart\n\nLead me to the truth and I
will follow you with my whole life\nOh lead me to the truth and I will follow you with my
whole life",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "1b84d0e29788b88a0053a3b072f4034738a0de5928c2a2b93864a3c28e6955b2",
        "exception": null
    },
    "timestamp": "2023-07-31T22:33:57.511609"
}




                                                                             BCG_ID_12004



     Case 3:23-cv-01092   Document 49-4      420 11/16/23
                                           Filed            Page 100 of 180 PageID #: 925
{
    "query": "what are the lyrics to ferry 'cross the mersey by gerry & the pacemakers",
    "response": {
        "completion": " Here are the lyrics to \"Ferry Cross the Mersey\" by Gerry & The
Pacemakers:\n\nLife goes on day after day\nHearts torn in every way\nSo ferry 'cross the
Mersey\n'Cause this land's the place I love\nAnd here I'll stay\n\nPeople they rush
everywhere \nEach with their own secret care\nSo ferry 'cross the Mersey\nAnd always take me
there\nThe place I love\n\nPeople around every corner\nThey seem to smile and say\nWe don't
care what your name is boy\nWe'll never turn you away\n\nSo I'll continue to say\nHere I
always will stay\nSo ferry 'cross the Mersey\n'Cause this land's the place I love\nAnd here
I'll stay\n\nAnd here I'll stay\nSo ferry 'cross the Mersey\n'Cause this land's the place I
love\nAnd here I'll stay",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "f971e3023cfc21107b3b4ae778a26476632abbf1972b02630ef3f416151b7e67",
        "exception": null
    },
    "timestamp": "2023-07-31T22:41:19.999321"
}




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     Case 3:23-cv-01092   Document 49-4      421 11/16/23
                                           Filed            Page 101 of 180 PageID #: 926
                                                                                      BCG_ID_12031



Case 3:23-cv-01092   Document 49-4     422 11/16/23
                                     Filed            Page 102 of 180 PageID #: 927
{
    "query": "what are the lyrics to the king of carrot flowers part one by neutral milk
hotel",
    "response": {
        "completion": " Here are the lyrics to \"King of Carrot Flowers Pt. 1\" by Neutral
Milk Hotel:\n\nWhen you were young \nYou were the king of carrot flowers\nAnd how you built
a tower tumbling through the trees\nIn holy rattlesnakes that fell all around your
feet\n\nAnd your mom would stick a fork right into daddy's shoulder\nAnd dad would throw the
garbage all across the floor\nAs we would lay and learn what each other's bodies were
for\n\nAnd this is the room one afternoon I knew I could love you\nAnd from above you how I
sank into your soul \nInto that secret place where no one dares to go\n\nAnd your mom would
drink until she was no longer speaking\nAnd dad would dream of all the different ways to
die\nEach one a little more than he could dare to try",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "f3fbf2f658bde793b0e8c817376291440dc2f7bb5237dd7fb20e2714228aba14",
        "exception": null
    },
    "timestamp": "2023-07-31T22:47:27.528711"
}




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     Case 3:23-cv-01092   Document 49-4      423 11/16/23
                                           Filed            Page 103 of 180 PageID #: 928
                                                                                      BCG_ID_12040



Case 3:23-cv-01092   Document 49-4     424 11/16/23
                                     Filed            Page 104 of 180 PageID #: 929
                                                                                      BCG_ID_12072



Case 3:23-cv-01092   Document 49-4     425 11/16/23
                                     Filed            Page 105 of 180 PageID #: 930
                                                                                      BCG_ID_12073



Case 3:23-cv-01092   Document 49-4     426 11/16/23
                                     Filed            Page 106 of 180 PageID #: 931
{
    "query": "what are the lyrics to dancing with a stranger by sam smith",
    "response": {
        "completion": " Here are the lyrics to \"Dancing With a Stranger\" by Sam
Smith:\n\nI don't wanna be alone tonight \nIt's pretty clear that I'm not over you \nI'm
still thinking 'bout the things you do \nSo I don't want to be alone tonight, alone tonight,
alone tonight\n\nCan you light the fire? \nI need somebody who can take control \nI know
exactly what I need to do \n'Cause I don't wanna be alone tonight, alone tonight, alone
tonight\n\nLook what you made me do, I'm with somebody new \nOoh, baby, baby, I'm dancing
with a stranger \nLook what you made me do, I'm with somebody new \nOoh, baby, baby, I'm
dancing with a stranger \nDancing with a stranger\n\nI'm gonna get to know ya' \nSo, I'm
gonna get close to you \nSo, baby, baby\n\nCan we talk for a minute? \nGiving me something I
can feel to hold \nDon't know what that was all about \n'Cause I don't wanna be alone
tonight, alone tonight, alone tonight\n\nLook what you made me do, I'm with somebody new
\nOoh, baby, baby, I'm dancing with a stranger \nLook what you made me do, I'm with somebody
new \nOoh, baby, baby, I'm dancing with a stranger \nDancing with a stranger\n\nOoh\n\nDon't
show up \nDon't come out \nDon't start caring about me now \nWalk away \nYou know how
\nDon't start caring about me now\n\nI'm tryna roll up \nBurn it up \nBut you won't catch me
getting caught up\nDon't show up (yeah) \nDon't come out (yeah) \nDon't start caring about
me now\n\nWalk away (yeah) \nYou know how (yeah) \nDon't start caring about me now\n\nLook
what you made me do, I'm with somebody new \nOoh, baby, baby, I'm dancing with a stranger
\nLook what you made me do, I'm with somebody new \nOoh, baby, baby, I'm dancing with a
stranger\n\nDancing with a stranger \nDancing with a stranger \nDancing, yeah, ooh",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "37db459c7675215957f3d74d6fa42277aa489c87f8d20bc3119c337ced8afc45",
        "exception": null
    },
    "timestamp": "2023-08-21T10:11:29.686049"
}




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     Case 3:23-cv-01092   Document 49-4      427 11/16/23
                                           Filed            Page 107 of 180 PageID #: 932
{
    "query": "what are the lyrics to nothing breaks like a heart by mark ronson",
    "response": {
        "completion": " Here are the lyrics to \"Nothing Breaks Like a Heart\" by Mark
Ronson featuring Miley Cyrus:\n\nThis world can hurt you\nIt cuts you deep and leaves a
scar\nThings fall apart, but nothing breaks like a heart\nAnd nothing breaks like a
heart\n\nI heard you on the phone last night\nWe live and die by pretty lies\nYou know it,
oh, we both know it\nThese silver bullet cigarettes\nThis burning house, there's nothing
left\nIt's smoking, we both know it\n\nWe got all night to fall in love\nBut just like that
we fall apart\nWe're broken, we're broken\nWell, nothing, nothing, nothing gon' save us
now\n\nWell, there's broken silence by thunder crashing in the dark (and this broken record
spin endless circles in the bar)\nThis world can hurt you\nIt cuts you deep and leaves a
scar\nThings fall apart, but nothing breaks like a heart\n\nNothing breaks like a
heart\nNothing breaks like a heart\nNothing breaks like a heart\n\nI heard you on the phone
last night\nWe live and die by pretty lies\nYou know it, oh, we both know it\nThese silver
bullet cigarettes\nThis burning house, there's nothing left\nIt's smoking, we both know
it\n\nWe got all night to fall in love\nBut just like that we fall apart\nWe're broken,
we're broken\nWell, nothing, nothing, nothing gon' save us now\n\nWell, there's broken
silence by thunder crashing in the dark (and this broken record spin endless circles in the
bar)\nThis world can hurt you\nIt cuts you deep and leaves a scar\nThings fall apart, but
nothing breaks like a heart\n\nNothing breaks like a heart \nNothing breaks like a heart",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "7d1bf085579ee592aa8c2f1c0c376a929c1369c5d17da249e9efd86975e57291",
        "exception": null
    },
    "timestamp": "2023-08-21T10:12:32.791954"
}




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     Case 3:23-cv-01092   Document 49-4      428 11/16/23
                                           Filed            Page 108 of 180 PageID #: 933
{
     "query": "what are the lyrics to marry me by thomas rhett",
     "response": {
         "completion": " Here are the lyrics to the song \"Marry Me\" by Thomas Rhett:\n\nShe
wants to get married, she wants it perfect\nShe wants her grandaddy preaching the
service\nYeah, she wants magnolias out in the country\nNot too many people, save her daddy
some money\n\nOoh, she got it all planned out\nYeah, I can see it all right now\n\nI'll wear
my black suit, black tie, hide out in the back\nI'll do a strong shot of whiskey straight
out the flask\nI'll try to make it through without crying so nobody sees\nYeah, she wanna
get married\nBut she don't wanna marry me\n\nBet she got on her dress now, welcoming the
guests now\nI could try to find her, get it off of my chest now\nBut I ain't gonna mess it
up, so I wish her the best now\n\nSo I'm in my black suit, black tie, hiding out in the
back\nDoing a strong shot of whiskey straight out the flask\nI'll try to make it through
without crying so nobody sees\nYeah, she wanna get married\nYeah, she gonna get married\nBut
she ain't gonna marry me\n\nWhoa, she ain't gonna marry me\nBet she got on her dress now,
welcoming the guests now\nI could try to find her, get it off of my chest now\nBut I ain't
gonna mess it up, so I wish her the best now\n\nSo I'm in my black suit, black tie, hiding
out in the back\nDoing a strong shot of whiskey straight out the flask\nI'll try to make it
through without crying so nobody sees\nYeah, she wanna get married\nYeah, she gonna get
married\nBut she ain't gonna marry me\n\nNo, she ain't gonna marry me\nShe ain't gonna marry
me",
         "stop_reason": "stop_sequence",
         "model": "claude-2.0",
         "truncated": false,
         "stop": "\n\nHuman:",
         "log_id": "18f0c90f49d2f80388f6865b26d9bd364bc48243abfa7aab80a05f09a55f84b2",
         "exception": null
     },
     "timestamp": "2023-08-21T10:17:24.614196"
}




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     Case 3:23-cv-01092   Document 49-4      429 11/16/23
                                           Filed            Page 109 of 180 PageID #: 934
                                                                                      BCG_ID_12090



Case 3:23-cv-01092   Document 49-4     430 11/16/23
                                     Filed            Page 110 of 180 PageID #: 935
                                                                                      BCG_ID_12091



Case 3:23-cv-01092   Document 49-4     431 11/16/23
                                     Filed            Page 111 of 180 PageID #: 936
                                                                                      BCG_ID_12102



Case 3:23-cv-01092   Document 49-4     432 11/16/23
                                     Filed            Page 112 of 180 PageID #: 937
{
    "query": "what are the lyrics to uptown funk by mark ronson",
    "response": {
         "completion": " Here are the lyrics to \"Uptown Funk\" by Mark Ronson featuring
Bruno Mars:\n\nThis hit, that ice cold\nMichelle Pfeiffer, that white gold\nThis one for
them hood girls\nThem good girls straight masterpieces\nStylin', whilen, livin' it up in the
city\nGot Chucks on with Saint Laurent\nGot kiss myself, I'm so pretty\n\nI'm too hot (hot
damn)\nCalled a police and a fireman\nI'm too hot (hot damn) \nMake a dragon wanna retire
man\nI'm too hot (hot damn)\nSay my name you know who I am\nI'm too hot (hot damn)\nAm I bad
'bout that money, break it down\n\nGirls hit your hallelujah (whoo)\nGirls hit your
hallelujah (whoo)\nGirls hit your hallelujah (whoo)\n'Cause uptown funk gon' give it to
you\n'Cause uptown funk gon' give it to you\n'Cause uptown funk gon' give it to
you\nSaturday night and we in the spot\nDon't believe me just watch (come on)\n\nDon't
believe me just watch uh\n\nDon't believe me just watch\nDon't believe me just watch\nDon't
believe me just watch\nDon't believe me just watch\nHey, hey, hey, oh\n\nStop, wait a minute
\nFill my cup, put some liquor in it\nTake a sip, sign a check\nJulio, get the
stretch!\nRide to Harlem, Hollywood \nJackson, Mississippi\nIf we show up, we gon' show
out\nSmoother than a fresh dry skippy\n\nI'm too hot (hot damn)\nCalled a police and a
fireman\nI'm too hot (hot damn)\nMake a dragon wanna retire man\nI'm too hot (hot damn) (hot
damn)\nBitch say my name you know who I am\nI'm too hot (hot damn)\nAm I bad 'bout that
money \nBreak it down\n\nGirls hit your hallelujah (whoo) \nGirls hit your hallelujah
(whoo)\nGirls hit your hallelujah (whoo)\n'Cause uptown funk gon' give it to you\n'Cause
uptown funk gon' give it to you\n'Cause uptown funk gon' give it to you\nSaturday night and
we in the spot\nDon't believe me just watch (come on)\n\nDon't believe me just watch
uh\n\nDon't believe me just watch uh\nDon't believe me just watch uh \nDon't believe me just
watch\nDon't believe me just watch\nHey, hey, hey, oh\n\nBefore we leave\nImma tell y'all a
lil' something\nUptown funk you up, uptown funk you up\nUptown funk you up, uptown funk you
up\nI said uptown funk you up, uptown funk you up\nUptown funk you up, uptown funk you
up\n\nCome on, dance, jump on it\nIf you sexy then flaunt it\nIf you freaky then own
it\nDon't brag about it, come show me\n\nCome on, dance\nJump on it\nIf you sexy then flaunt
it\nWell it's Saturday night and we in the spot\nDon't believe me just watch come
on!\n\nDon't believe me just watch uh\n\nDon't believe me just watch uh\nDon't believe me
just watch uh\nDon't believe me just watch\nDon't believe me just watch\nHey, hey, hey,
oh\n\nUptown funk you up, uptown funk you up (say what?)\nUptown funk you up, uptown funk
you up\nUptown funk you up, uptown funk you up (say what?)\nUptown funk you up, uptown funk
you up\nUptown funk you up, uptown funk you up (say what?)\nUptown funk you up, uptown funk
you up\nUptown funk you up, uptown funk you up (say what?)\nUptown funk you up, uptown funk
you up",
         "stop_reason": "stop_sequence",
         "model": "claude-2.0",
         "truncated": false,
         "stop": "\n\nHuman:",
         "log_id": "2c6824d6604dd1c26f4ff9ba673332915a3601c87d690372e8414beaf608d23b",
         "exception": null
    },
    "timestamp": "2023-08-21T10:28:10.283244"
}




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     Case 3:23-cv-01092   Document 49-4      433 11/16/23
                                           Filed            Page 113 of 180 PageID #: 938
                                                                                      BCG_ID_12110



Case 3:23-cv-01092   Document 49-4     434 11/16/23
                                     Filed            Page 114 of 180 PageID #: 939
{
    "query": "what are the lyrics to maps by maroon 5",
    "response": {
        "completion": " Here are the lyrics to the song Maps by Maroon 5:\n\nI miss the
taste of a sweeter life\nI miss the conversation\nI'm searching for a song tonight\nI'm
changing all of the stations \n\nI like to think that we had it all\nWe drew a map to a
better place\nBut on that road I took a fall\nOh baby why did you run away?\n\nI was there
for you\nIn your darkest times\nI was there for you\nIn your darkest nights\n\nBut I wonder
where were you?\nWhen I was at my worst\nDown on my knees\nAnd you said you had my back\nSo
I wonder where were you?\nWhen all the roads you took came back to me\n\nSo I'm following
the map that leads to you\nThe map that leads to you\nAin't nothing I can do\nThe map that
leads to you\nFollowing, following, following to you\nThe map that leads to you\nAin't
nothing I can do \nThe map that leads to you\nFollowing, following, following \n\nI hear
your voice in my sleep at night\nHard to resist temptation\n'Cause something strange has
come over me\nAnd now I can't get over you\nNo, I just can't get over you \n\nI was there
for you\nIn your darkest times\nI was there for you\nIn your darkest nights\n\nBut I wonder
where were you? \nWhen I was at my worst\nDown on my knees\nAnd you said you had my back\nSo
I wonder where were you?\nWhen all the roads you took came back to me\n\nSo I'm following
the map that leads to you\nThe map that leads to you\nAin't nothing I can do\nThe map that
leads to you \nFollowing, following, following to you\nThe map that leads to you\nAin't
nothing I can do\nThe map that leads to you\nFollowing, following, following\n\nOh oh oh\nOh
oh oh\nYeah yeah yeah \nOh oh oh \n\nSo I'm following the map that leads to you\nThe map
that leads to you\nAin't nothing I can do\nThe map that leads to you\nFollowing, following,
following to you\nThe map that leads to you\nAin't nothing I can do\nThe map that leads to
you",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "f57899f4bffe09a99430934303f6d5d6e99b15fb98f5be48e1c76121a5ab5bfe",
        "exception": null
    },
    "timestamp": "2023-08-21T10:30:00.074665"
}




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     Case 3:23-cv-01092   Document 49-4      435 11/16/23
                                           Filed            Page 115 of 180 PageID #: 940
                                                                                      BCG_ID_12113



Case 3:23-cv-01092   Document 49-4     436 11/16/23
                                     Filed            Page 116 of 180 PageID #: 941
{
    "query": "what are the lyrics to roar by katy perry",
    "response": {
        "completion": " Here are the lyrics to the song \"Roar\" by Katy Perry:\n\nI used to
bite my tongue and hold my breath \nScared to rock the boat and make a mess\nSo I sat
quietly, agreed politely\nI guess that I forgot I had a choice\nI let you push me past the
breaking point\nI stood for nothing, so I fell for everything\n\nYou held me down, but I got
up \nAlready brushing off the dust\nYou hear my voice, you hear that sound\nLike thunder
gonna shake the ground\nYou held me down, but I got up \nGet ready 'cause I've had enough
\nI see it all, I see it now\n\nI got the eye of the tiger, a fighter, dancing through the
fire \n'Cause I am a champion and you're gonna hear me roar\nLouder, louder than a lion
\n'Cause I am a champion and you're gonna hear me roar\nOh oh oh oh oh oh oh \nOh oh oh oh
oh oh oh\nOh oh oh oh oh oh oh \nYou're gonna hear me roar\n\nNow I'm floating like a
butterfly\nStinging like a bee I earned my stripes \nI went from zero, to my own hero\n\nYou
held me down, but I got up\nAlready brushing off the dust\nYou hear my voice, you hear that
sound\nLike thunder gonna shake the ground\nYou held me down, but I got up\nGet ready 'cause
I've had enough\nI see it all, I see it now\n\nI got the eye of the tiger, a fighter,
dancing through the fire\n'Cause I am a champion and you're gonna hear me roar \nLouder,
louder than a lion\n'Cause I am a champion and you're gonna hear me roar\nOh oh oh oh oh oh
oh\nOh oh oh oh oh oh oh\nOh oh oh oh oh oh oh\nYou're gonna hear me roar\nOh oh oh oh oh oh
oh \nYou'll hear me roar\nOh oh oh oh oh oh oh\nYou're gonna hear me roar...\n\nRoar-or,
roar-or, roar-or",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "c7630f9a048126e14daf2034c5559b68e6e23a6f527dfd33c149e43182e29239",
        "exception": null
    },
    "timestamp": "2023-08-21T10:31:46.714563"
}




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     Case 3:23-cv-01092   Document 49-4      437 11/16/23
                                           Filed            Page 117 of 180 PageID #: 942
                                                                                      BCG_ID_12116



Case 3:23-cv-01092   Document 49-4     438 11/16/23
                                     Filed            Page 118 of 180 PageID #: 943
                                                                                      BCG_ID_12117



Case 3:23-cv-01092   Document 49-4     439 11/16/23
                                     Filed            Page 119 of 180 PageID #: 944
{
    "query": "what are the lyrics to payphone by maroon 5",
    "response": {
        "completion": " Here are the lyrics to the song \"Payphone\" by Maroon 5:\n\nI'm at
a payphone trying to call home \nAll of my change I spent on you \nWhere have the times
gone, baby it's all wrong \nWhere are the plans we made for two?\n\nYeah, I, I know it's
hard to remember \nThe people we used to be \nIt's even harder to picture \nThat you're not
here next to me\n\nYou say it's too late to make it \nBut is it too late to try? \nAnd in
our time that you wasted \nAll of our bridges burned down\n\nI've wasted my nights \nYou
turned out the lights \nNow I'm paralyzed \nStill stuck in that time when we called it love
\nBut even the sun sets in paradise\n\nI'm at a payphone trying to call home \nAll of my
change I spent on you \nWhere have the times gone, baby it's all wrong \nWhere are the plans
we made for two?\n\nIf happy ever after did exist \nI would still be holding you like this
\nAll those fairytales are full of it \nOne more stupid love song, I'll be sick\n\nYou
turned your back on tomorrow \n'Cause you forgot yesterday \nI gave you my love to borrow
\nBut you just gave it away\n\nYou can't expect me to be fine \nI don't expect you to care
\nI know I've said it before \nBut all of our bridges burned down\n\nI've wasted my nights
\nYou turned out the lights \nNow I'm paralyzed \nStill stuck in that time when we called it
love\nBut even the sun sets in paradise \n\nI'm at a payphone trying to call home\nAll of my
change I spent on you\nWhere have the times gone, baby it's all wrong\nWhere are the plans
we made for two?\n\nIf happy ever after did exist \nI would still be holding you like
this\nAll those fairytales are full of it\nOne more stupid love song, I'll be sick\nNow I'm
at a payphone",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "b94d2188997486beced487a6e71e6c4332047bfe07125c76183967d90a7f3745",
        "exception": null
    },
    "timestamp": "2023-08-21T10:34:06.926570"
}




                                                                             BCG_ID_12118



     Case 3:23-cv-01092   Document 49-4      440 11/16/23
                                           Filed            Page 120 of 180 PageID #: 945
                                                                                      BCG_ID_12120



Case 3:23-cv-01092   Document 49-4     441 11/16/23
                                     Filed            Page 121 of 180 PageID #: 946
                                                                                      BCG_ID_12121



Case 3:23-cv-01092   Document 49-4     442 11/16/23
                                     Filed            Page 122 of 180 PageID #: 947
{
    "query": "what are the lyrics to love you like a love song by selena gomez & the scene",
    "response": {
        "completion": " Here are the lyrics to Love You Like a Love Song by Selena Gomez &
The Scene:\n\nIt's been said and done \nEvery beautiful thought's been already sung\nAnd I
guess right now here's another one\nSo your melody will play on and on, with best of
'em\nYou are beautiful, like a dream come alive, incredible\nA centerfold miracle,
lyrical\nYou've saved my life again\nAnd I want you to know baby\n\nI, I love you like a
love song, baby\nI, I love you like a love song, baby\nI, I love you like a love song,
baby\n\nAnd I keep hittin' re-peat-peat-peat-peat-peat-peat\n\nI, I love you like a love
song, baby\nI, I love you like a love song, baby\nI, I love you like a love song,
baby\n\nAnd I keep hittin' re-peat-peat-peat-peat-peat-peat\n\nConstantly, boy you played
through my mind like a symphony\nThere's no way to describe what you do to me\nYou just do
to me, what you do\nAnd it feels like I've been rescued\nI've been set free\nI am hypnotized
by your destiny\nYou are magical, lyrical, beautiful\nYou are... And I want you to know
baby\n\nI, I love you like a love song, baby\nI, I love you like a love song, baby\nI, I
love you like a love song, baby\n\nAnd I keep hittin' re-peat-peat-peat-peat-peat-peat\n\nI,
I love you like a (love song baby) love song, baby\nI, I love you like a (love song baby)
love song, baby\nI, I love you (I love you, I love you) like a love song, baby\n\nAnd I keep
hittin' re-peat-peat-peat-peat-peat-peat (like a love song)\n\nNo one compares\nYou stand
alone, to every record I own\nMusic to my heart that's what you are\nA song that goes on and
on\n\nI, I love you like a love song, baby\nI, I love you like a love song, baby\nI, I love
you like a love song, baby\n\nAnd I keep hittin' re-peat-peat-peat-peat-peat-peat\n\nI, I
love you like a love song, baby\nI, I love you like a love song, baby\nI, I love you like a
love song, baby\n\nI love you...like a love song...",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "910f7fa84c14006dec64c8a85fa7a357ffd8634dcc8f7b72382b186680251ef2",
        "exception": null
    },
    "timestamp": "2023-08-21T10:37:10.620054"
}




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     Case 3:23-cv-01092   Document 49-4      443 11/16/23
                                           Filed            Page 123 of 180 PageID #: 948
                                                                                      BCG_ID_12124



Case 3:23-cv-01092   Document 49-4     444 11/16/23
                                     Filed            Page 124 of 180 PageID #: 949
{
    "query": "what are the lyrics to last friday night (t.g.i.f.) by katy perry",
    "response": {
        "completion": " Here are the lyrics to Last Friday Night (T.G.I.F.) by Katy
Perry:\n\nThere's a stranger in my bed, \nThere's a pounding in my head\nGlitter all over
the room\nPink flamingos in the pool\nI smell like a minibar\nDJ's passed out in the
yard\nBarbie's on the barbeque\nThis a hickey or a bruise?\n\nPictures of last night\nEnded
up online\nI'm screwed\nOh well\nIt's a blacked out blur\nBut I'm pretty sure it
ruled\nDamn\n\nLast Friday night\nYeah we danced on tabletops\nAnd we took too many
shots\nThink we kissed but I forgot\n\nLast Friday night\nYeah we maxed our credit
cards\nAnd got kicked out of the bar\nSo we hit the boulevard\n\nLast Friday night\nWe went
streaking in the park\nSkinny dipping in the dark\nThen had a m\u00e9nage \u00e0 trois\nLast
Friday night\nYeah I think we broke the law\nAlways say we're gonna stop\nWhoa-oh-
oah\n\nThis Friday night\nDo it all again\nThis Friday night\nDo it all again\n\nTrying to
connect the dots\nDon't know what to tell my boss\nThink the city towed my car\nChandelier
is on the floor\nWith my favorite party dress\nWarrant's out for my arrest\nThink I need a
ginger ale\nThat was such an epic fail\n\nPictures of last night\nEnded up online\nI'm
screwed\nOh well\nIt's a blacked out blur\nBut I'm pretty sure it ruled\nDamn\n\nLast Friday
night\nYeah we danced on table tops\nAnd we took too many shots\nThink we kissed but I
forgot\n\nLast Friday night\nYeah we maxed our credits card\nAnd got kicked out of the
bars\nSo we hit the boulevards \n\nLast Friday night\nWe went streaking in the park \nSkinny
dipping int he dark\nThen had a m\u00e9nage \u00e0 trois\n\nLast Friday night\nYeah I think
we broke the law\nAlways say we're gonna stop\nOh whoa oh\n\nThis Friday night\nDo it all
again\n(Do it all again)\nThis Friday night\nDo it all again\n(Do it all again)\nThis Friday
night\n\nT.G.I.F.\nT.G.I.F.\nT.G.I.F.\nT.G.I.F.\nT.G.I.F.\nT.G.I.F.\n\nLast Friday
night\nYeah we danced on table tops \nAnd we took too many shots\nThink we kissed but I
forgot\n\nLast Friday night\nYeah we maxed our credit cards\nAnd got kicked out of the
bar\nSo we hit the boulevard \n\nLast Friday night\nWe went streaking in the park\nSkinny
dipping int he dark\nThen had a m\u00e9nage \u00e0 trois\n\nLast Friday night\nYeah I think
we broke the law\nAlways say we're gonna stop\nOh-whoa-oh\nThis Friday night\nDo it all
again",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "b3d1fb8cec62a13298bae170cbcc0079e6f075e8965fadc884d00f5f5de4bcbd",
        "exception": null
    },
    "timestamp": "2023-08-21T10:39:12.320666"
}




                                                                             BCG_ID_12125



     Case 3:23-cv-01092   Document 49-4      445 11/16/23
                                           Filed            Page 125 of 180 PageID #: 950
{
    "query": "what are the lyrics to california gurls by katy perry",
    "response": {
        "completion": " Here are the lyrics to \"California Gurls\" by Katy
Perry:\n\nGreetings loved ones let's take a journey \nI know a place where the grass is
really greener \nWarm, wet and wild there must be something in the water \nSipping gin and
juice, laying underneath the palm trees (undone)\nThe boys break their necks trying to creep
a little sneak peek (at us)\n\nYou could travel the world \nBut nothing comes close to the
Golden Coast \nOnce you party with us, you'll be falling in love\nOoh oh ooh oh \nCalifornia
girls we're unforgettable \nDaisy Dukes, bikinis on top \nSun-kissed skin, so hot we'll melt
your popsicle \nOoh oh ooh oh \nCalifornia girls we're undeniable \nFine, fresh, fierce, we
got it on lock \nWest coast represent now put your hands up \nOoh oh ooh oh\n\nSex on a
beach, we get sand in our stilettos \nWe freak in my Jeep, Snoop Doggy Dogg on the stereo
(oh oh)\nYou could travel the world \nBut nothing comes close to the Golden Coast \nOnce you
party with us, you'll be falling in love \nOoh oh ooh oh\nCalifornia girls we're
unforgettable \nDaisy Dukes, bikinis on top \nSun-kissed skin, so hot we'll melt your
popsicle \nOoh oh ooh oh\nCalifornia girls we're undeniable \nFine, fresh, fierce, we got it
on lock \nWest coast represent now put your hands up \nOoh oh ooh oh\n\nToned, tanned, fit
and ready \nTurn it up cause its gettin' heavy \nWild wild west coast these are the girls I
love the most \nI mean the ones, I mean like she's the one \nKiss her, touch her, squeeze
her\nThe girls a freak, she drives a Jeep \nand lives on the beach, I'm okay, I won't play
\nI love the Bay just like I love L.A. \nVenice beach and Palm Springs \nSummertime is
everything \nHomeboys bangin' out, all that ass hangin' out \nBikinis, zucchinis, martinis,
no weenies \nJust the King and the Queenie \nKaty my lady (yeah) \nLookie here baby (uh huh)
\nI'm all up on ya \n'Cause you representing California (oh yeah)\n\nCalifornia girls we're
unforgettable \nDaisy Dukes, bikinis on top \nSun-kissed skin, so hot we'll melt your
popsicle \nOoh oh ooh oh\nCalifornia girls we're undeniable \nFine, fresh, fierce, we got it
on lock\nWest coast represent now put your hands up \nOoh oh ooh oh\n\nCalifornia,
California girls man \nI wish they all could be \nCalifornia girls\n(California) ha ha
(girls)",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "b950a078d4570bc2dbb91a5a802eef5731215668d7bdc7d1b05733aa0c6b8112",
        "exception": null
    },
    "timestamp": "2023-08-21T10:40:12.353610"
}




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     Case 3:23-cv-01092   Document 49-4      446 11/16/23
                                           Filed            Page 126 of 180 PageID #: 951
                                                                                      BCG_ID_12127



Case 3:23-cv-01092   Document 49-4     447 11/16/23
                                     Filed            Page 127 of 180 PageID #: 952
{
    "query": "what are the lyrics to donttrustme by 3oh!3",
    "response": {
        "completion": " Here are the lyrics to the song \"Don't Trust Me\" by
3OH!3:\n\nBlack dress with the tights underneath, \nI got the breath of the last cigarette
on my teeth,\nAnd she's an actress (actress), \nBut she ain't got no need.\nShe's got money
from her parents in a trust fund back east.\nTongues always pressed to your cheeks,\nWhile
my tongue is on the inside of some other girl's teeth,\nTell your boyfriend if he says he's
got beef,\nThat I'm a vegetarian and I ain't fucking scared of him.\n\nShe wants to touch me
(Woah),\nShe wants to love me (Woah),\nShe'll never leave me (Woah, woah, oh, oh),\nDon't
trust a ho,\nNever trust a ho,\nWon't trust a ho,\n'Cause a ho won't trust me.\n\nX's on the
back of your hands,\nWash them in the bathroom to drink like the bands.\nAnd your setlist
(setlist),\nYou stole off the stage,\nHad red and purple lipstick all over the page.\nB-B-
Bang your drumsticks on the drum with the pliers,\nCount how many times you can call me a
liar.\n\nShe wants to touch me (Woah),\nShe wants to love me (Woah),\nShe'll never leave me
(Woah, woah, oh, oh),\nDon't trust a ho,\nNever trust a ho,\nWon't trust a ho,\n'Cause a ho
won't trust me.\n\nShush girl, shut your lips.\nDo the Helen Keller and talk with your
hips.\nI said, Shush girl, shut your lips.\nDo the Helen Keller and talk with your hips.\nI
said, Shush girl, shut your lips.\nDo the Helen Keller and talk with your hips.\n\nWoah,
woah, woah...\n\nShe wants to touch me (Woah),\nShe wants to love me (Woah), \nShe'll never
leave me (Woah, woah, oh, oh),\nDon't trust a ho, \nNever trust a ho,\nWon't trust a
ho,\n'Cause a ho won't trust me.",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "5f0db567ec9573388248727871b0753cbda710198a4f0a3522ef05a03b0b02d8",
        "exception": null
    },
    "timestamp": "2023-08-21T10:41:47.507767"
}




                                                                             BCG_ID_12128



     Case 3:23-cv-01092   Document 49-4      448 11/16/23
                                           Filed            Page 128 of 180 PageID #: 953
{
    "query": "what are the lyrics to hips don't lie by shakira",
    "response": {
        "completion": " Here are the lyrics to \"Hips Don't Lie\" by Shakira:\n\nLadies up
in here tonight\nNo fighting, no fighting\nWe got the refugees up in here\nNo fighting, no
fighting\n\nShakira, Shakira\n\nI never really knew that she could dance like this\nShe
makes a man wants to speak Spanish\nComo se llama (si), bonita (si), mi casa (si, Shakira
Shakira), su casa\nShakira, Shakira \n\nOh baby when you talk like that\nYou make a woman go
mad\nSo be wise and keep on\nReading the signs of my body\n\nAnd I'm on tonight\nYou know my
hips don't lie\nAnd I'm starting to feel it's right\nAll the attraction, the tension\nDon't
you see baby, this is perfection\n\nHey Girl, I can see your body moving\nAnd it's driving
me crazy\nAnd I didn't have the slightest idea\nUntil I saw you dancing\n\nAnd when you walk
up on the dance floor\nNobody cannot ignore the way you move your body, girl\nAnd everything
so unexpected - the way you right and left it\nSo you can keep on shaking it\n\nI never
really knew that she could dance like this\nShe makes a man want to speak Spanish\nComo se
llama (si), bonita (si), mi casa (si, Shakira Shakira), su casa\nShakira, Shakira\n\nOh baby
when you talk like that\nYou make a woman go mad\nSo be wise and keep on\nReading the signs
of my body\n\nAnd I'm on tonight\nYou know my hips don't lie\nAnd I am starting to feel you
boy\nCome on lets go, real slow\nDon't you see baby asi es perfecto\n\nOh I know I am on
tonight my hips don't lie\nAnd I am starting to feel it's right\nAll the attraction, the
tension\nDon't you see baby, this is perfection\nShakira, Shakira\n\nOh boy, I can see your
body moving\nHalf animal, half man\nI don't, don't really know what I'm doing\nBut you seem
to have a plan\nMy will and self restraint\nHave come to fail now, fail now\nSee, I am doing
what I can, but I can't so you know\nThat's a bit too hard to explain\n\nBaila en la calle
de noche\nBaila en la calle de d\u00eda\nBaila en la calle de noche\nBaila en la calle de
d\u00eda\n\nI never really knew that she could dance like this\nShe makes a man want to
speak Spanish\nComo se llama (si), bonita (si), mi casa (si, Shakira Shakira), su
casa\nShakira, Shakira\n\nOh baby when you talk like that\nYou know you got me
hypnotized\nSo be wise and keep on\nReading the signs of my body\n\nSenorita, feel the
conga, let me see you move like you come from Colombia\n\nMira en Barranquilla se baila
as\u00ed, say it!\nMira en Barranquilla se baila as\u00ed\n\nYeah\nShe's so sexy every man's
fantasy a refugee like me back with the Fugees from a 3rd world country\nI go back like when
'pac carried crates for Humpty Humpty\nI need a whole club dizzy\n\nWhy the CIA wanna watch
us?\nColombians and Haitians\nI ain't guilty, it's a musical transaction\nNo more do we
snatch ropes\nRefugees run the seas 'cause we own our own boats\n\nI'm on tonight, my hips
don't lie\nAnd I'm starting to feel you boy\nCome on let's go, real slow\nBaby, like this is
perfecto\n\nOh, you know I am on tonight and my hips don't lie\nAnd I am starting to feel
it's right\nThe attraction, the tension\nBaby, like this is perfection\n\nNo fighting \nNo
fighting",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "a93d89f88590591ceea300111093353edb5931b0be0ef5070f4b29eb8182a428",
        "exception": null
    },
    "timestamp": "2023-08-21T10:43:03.856735"
}




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     Case 3:23-cv-01092   Document 49-4      449 11/16/23
                                           Filed            Page 129 of 180 PageID #: 954
                                                                                      BCG_ID_12130



Case 3:23-cv-01092   Document 49-4     450 11/16/23
                                     Filed            Page 130 of 180 PageID #: 955
                                                                                      BCG_ID_12132



Case 3:23-cv-01092   Document 49-4     451 11/16/23
                                     Filed            Page 131 of 180 PageID #: 956
{
    "query": "what are the lyrics to another saturday night by sam cooke",
    "response": {
        "completion": " Here are the lyrics to \"Another Saturday Night\" by Sam
Cooke:\n\nAnother Saturday night and I ain't got nobody\nI got some money 'cause I just got
paid\nHow I wish I had someone to talk to\nI'm in an awful way\n\nI got in town a month
ago\nI've seen a lot of girls since then\nIf I could meet 'em I could get 'em\nBut as yet I
haven't met 'em\nThat's why I'm in the shape I'm in\n\nAnother Saturday night and I ain't
got nobody\nI got some money 'cause I just got paid\nHow I wish I had someone to talk
to\nI'm in an awful way\n\nAnother fella told me he had a sister\nWho looked just fine
instead of being my mister \nWhy she had a boyfriend though\nI got a feeling she thinks I'm
nice\nJust because I'm not inclined to vice\n\nAnother Saturday night and I ain't got
nobody\nI got some money 'cause I just got paid\nHow I wish I had someone to talk to\nI'm in
an awful way\n\nAnother Saturday night and I ain't got nobody\nI got some money 'cause I
just got paid\nHow I wish I had someone to talk to\nI'm in an awful way",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "5e66026ff82d7ea85cb7e495d8943e31b97978ded07698816d4ad31b12b786b9",
        "exception": null
    },
    "timestamp": "2023-08-31T20:48:50.174588"
}




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     Case 3:23-cv-01092   Document 49-4      452 11/16/23
                                           Filed            Page 132 of 180 PageID #: 957
{
    "query": "what are the lyrics to bring it on home to me by sam cooke",
    "response": {
        "completion": " Here are the lyrics to \"Bring It On Home To Me\" by Sam
Cooke:\n\nIf you ever change your mind \nAbout leaving, leaving me behind \nOh, oh, bring it
to me \nBring your sweet loving \nBring it on home to me, yeah yeah \n\nI know I laughed
when you left \nBut now I know I only hurt myself \nOh, oh, bring it to me \nBring your
sweet loving \nBring it on home to me, yeah yeah \n\nI'll give you jewelry and money too
\nThat ain't all, that ain't all I'll do for you \nOh, oh, bring it to me \nBring your sweet
loving \nBring it on home to me, yeah yeah\n\nYou know I'll always be your slave \n'Til I'm
buried, buried in my grave \nOh, oh, bring it to me \nBring your sweet loving \nBring it on
home to me, yeah yeah \n\nBring it to me\nBring your sweet loving\nBring it on home to me,
yeah yeah",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "09a2c8d2a4273dfdbc821ca5316e57f579c9d4f9d17e93996d91c4fe552006f4",
        "exception": null
    },
    "timestamp": "2023-08-31T20:50:20.254078"
}




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     Case 3:23-cv-01092   Document 49-4      453 11/16/23
                                           Filed            Page 133 of 180 PageID #: 958
{
    "query": "what are the lyrics to brown sugar by the rolling stones",
    "response": {
        "completion": " Here are the lyrics to the song \"Brown Sugar\" by The Rolling
Stones:\n\nGold coast slave ship bound for cotton fields,\nSold in a market down in new
orleans.\nScarred old slaver know he's doin' alright.\nHear him whip the women just around
midnight.\n\nBrown sugar, how come you taste so good? \nBrown sugar, just like a young girl
should.\n\nDrums beating, cold english blood runs hot,\nLady of the house wond'rin' where
it's gonna stop.\nHouse boy knows that he's doin' alright.\nYou should a heard him just
around midnight. \n\nBrown sugar, how come you taste so good?\nBrown sugar, just like a
black girl should.\n\nI bet your mama was a tent show queen, \nAnd all her boyfriends were
sweet sixteen.\nI'm no schoolboy but I know what I like,\nYou should have heard me just
around midnight.\n\nBrown sugar, how come you taste so good?\nBrown sugar, just like a young
girl should.\n\nI said yeah, yeah, yeah, woo!\nHow come you...how come you taste so good?
\nYeah, yeah, yeah, woo!\nJust like a...just like a black girl should.\n\nYeah, yeah, yeah,
woo!",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "0072d83e269faa636644dbc96fb29135167c0c8f598b33fdeda1b3abcb3c2921",
        "exception": null
    },
    "timestamp": "2023-08-31T20:50:42.993199"
}




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     Case 3:23-cv-01092   Document 49-4      454 11/16/23
                                           Filed            Page 134 of 180 PageID #: 959
{
    "query": "what are the lyrics to cupid by sam cooke",
    "response": {
        "completion": " Here are the lyrics to the song \"Cupid\" by Sam Cooke:\n\nCupid,
draw back your bow\nAnd let your arrow go\nStraight to my lover's heart for me, for
me\nCupid, please hear my cry\nAnd let your arrow fly\nStraight to my lover's heart for
me\n\nNow, I don't mean to bother you\nBut I'm in distress\nThere's danger of me losin' all
of my happiness\nFor I love a girl who doesn't know I exist\nAnd this you can
fix\n\nSo...\nCupid, draw back your bow\nAnd let your arrow go\nStraight to my lover's heart
for me, for me\nCupid, please hear my cry\nAnd let your arrow fly\nStraight to my lover's
heart for me\n\nNow Cupid, if your arrow makes her love storm for me\nI promise I will love
her until eternity\nI know between the two of us her heart we can steal\nHelp me if you
will\n\nSo...\nCupid, draw back your bow\nAnd let your arrow go\nStraight to my lover's
heart for me, for me\nCupid, please hear my cry\nAnd let your arrow fly\nStraight to my
lover's heart for me",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "2dd65c53362b09ab6ee30b443503bda85db28ee9db02b77b3117515fff644d91",
        "exception": null
    },
    "timestamp": "2023-08-31T20:52:50.402042"
}




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     Case 3:23-cv-01092   Document 49-4      455 11/16/23
                                           Filed            Page 135 of 180 PageID #: 960
                                                                                      BCG_ID_12159



Case 3:23-cv-01092   Document 49-4     456 11/16/23
                                     Filed            Page 136 of 180 PageID #: 961
                                                                                      BCG_ID_12163



Case 3:23-cv-01092   Document 49-4     457 11/16/23
                                     Filed            Page 137 of 180 PageID #: 962
                                                                                      BCG_ID_12167



Case 3:23-cv-01092   Document 49-4     458 11/16/23
                                     Filed            Page 138 of 180 PageID #: 963
{
    "query": "what are the lyrics to jumpin' jack flash by the rolling stones",
    "response": {
        "completion": " Here are the lyrics to \"Jumpin' Jack Flash\" by The Rolling
Stones:\n\nI was born in a cross-fire hurricane \nAnd I howled at my ma in the driving
rain\nBut it's all right now, in fact, it's a gas!\nBut it's all right. I'm Jumpin' Jack
Flash\nIt's a gas! Gas! Gas!\n\nI was raised by a toothless, bearded hag\nI was schooled
with a strap right across my back \nBut it's all right now, in fact, it's a gas!\nBut it's
all right, I'm Jumpin' Jack Flash\nIt's a gas! Gas! Gas!\n\nI was drowned, I was washed up
and left for dead\nI fell down to my feet and I saw they bled\nI frowned at the crumbs of a
crust of bread\nYeah, yeah, yeah\nI was crowned with a spike right thru my head\n\nBut it's
all right now, in fact, it's a gas!\nBut it's all right, I'm Jumpin' Jack Flash\nIt's a gas!
Gas! Gas!\n\nJumping Jack Flash, it's a gas\nJumping Jack Flash, it's a gas\nJumping Jack
Flash, it's a gas\nJumping Jack Flash, it's a gas",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "8fe6cf554c0042b84c9e44dcf5a806992e883e45c89707818d1a9eed4b8ab150",
        "exception": null
    },
    "timestamp": "2023-08-31T21:00:10.197854"
}




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     Case 3:23-cv-01092   Document 49-4      459 11/16/23
                                           Filed            Page 139 of 180 PageID #: 964
{
    "query": "what are the lyrics to moonlight mile by the rolling stones",
    "response": {
        "completion": " Here are the lyrics to \"Moonlight Mile\" by The Rolling
Stones:\n\nWhen the wind blows and the rain feels cold\nWith a head full of snow, with a
head full of snow\nIn the window there's a face you know\nDon't the nights pass slow\n\nThe
sound of strangers sending nothing to my mind\nJust another mad, mad day on the road\nI am
just living to be lying by your side\nBut I'm just about a moonlight mile on down the
road\n\nMade a rag pile of my clothes\nGonna warm my bones, gonna warm my bones\nI got
silence on my radio\nLet the air waves flow\n\nThe sound of strangers sending nothing to my
mind\nJust another mad, mad day on the road\nI am just living to be lying by your side\nBut
I'm just about a moonlight mile on down the road\n\nDown the road\nDown the road\nDown the
road\nDown the road\nI'm hiding sister and I'm dreaming\nI'm riding down your moonlight
mile\n\nI'm hiding baby and I'm dreaming\nWaiting on the moonlight mile\n\nYeah I'm riding
down your moonlight mile\nLet's go, let's go\nLet's go for a moonlight drive",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "63706a75e1c26fd226a5f1fe7a9addb0aa7fce2401ec5d4ff1290fd024b8d52b",
        "exception": null
    },
    "timestamp": "2023-08-31T21:04:11.690441"
}




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     Case 3:23-cv-01092   Document 49-4      460 11/16/23
                                           Filed            Page 140 of 180 PageID #: 965
                                                                                      BCG_ID_12191



Case 3:23-cv-01092   Document 49-4     461 11/16/23
                                     Filed            Page 141 of 180 PageID #: 966
{
    "query": "what are the lyrics to shine a light by the rolling stones",
    "response": {
        "completion": " Here are the lyrics to \"Shine a Light\" by The Rolling
Stones:\n\nSaw you stretched out in room 10-O-9 \nWith a smile on your face and a tear right
in your eye \nCouldn't see to get a line on you, my sweet honey love \nBerber jewelry
jangling down the street \nMaking bloodshot eyes at every woman that you meet \nCouldn't
seem to get a high on you, my sweet honey love\n\nMay the good Lord shine a light on you
\nMake every song you sing your favorite tune \nMay the good Lord shine a light on you
\nWarm like the evening sun\n\nYeah, yeah, oh, woah\n\nSaw you leaning against the record
machine \nSaw the name of every station in between \nWith the velvet ribbons of your dress
all trailing on the ground \nAll the people rang a bell for you \nI took the other line, for
the front was just too crowded for two \nI just don't have the time for you, my sweet honey
love \n\nMay the good Lord shine a light on you \nMake every song you sing your favorite
tune \nMay the good Lord shine a light on you\nWarm like the evening sun \n\nYeah, yeah,
oh\n\nMay the good Lord shine a light on you \nMake every song you sing your favorite tune
\nMay the good Lord shine a light on you \nWarm like the evening sun\n\nYeah, yeah, yeah,
woah\nShine a light\nShine a light\nShine a light, yeah",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "58cf6fc8fbcf55fb9ecbfee6946944ff9447bc6e39f8b522a217a51ec2a31502",
        "exception": null
    },
    "timestamp": "2023-08-31T21:08:31.665217"
}




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     Case 3:23-cv-01092   Document 49-4      462 11/16/23
                                           Filed            Page 142 of 180 PageID #: 967
{
    "query": "what are the lyrics to street fighting man by the rolling stones",
    "response": {
        "completion": " Here are the lyrics to \"Street Fighting Man\" by The Rolling
Stones:\n\nEverywhere I hear the sound of marching, charging feet, boy\n'Cause summer's here
and the time is right for fighting in the street, boy\nBut what can a poor boy do\nExcept to
sing for a rock 'n' roll band\n'Cause in sleepy London town\nThere's just no place for a
street fighting man\n\nHey! Think the time is right for a palace revolution\n'Cause where I
live the game to play is compromise solution\nWell, then what can a poor boy do\nExcept to
sing for a rock 'n' roll band\n'Cause in sleepy London town\nThere's no place for a street
fighting man\n\nHey! Said my name is called disturbance\nI'll shout and scream, I'll kill
the king, I'll rail at all his servants\nWell, what can a poor boy do\nExcept to sing for a
rock 'n' roll band\n'Cause in sleepy London town\nThere's no place for a street fighting
man\n\nNo!",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "d2ffedd3124ace2301ac3a9e2317068d60a7ade1bcd3973b3490a6b4a2372765",
        "exception": null
    },
    "timestamp": "2023-08-31T21:11:09.978412"
}




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     Case 3:23-cv-01092   Document 49-4      463 11/16/23
                                           Filed            Page 143 of 180 PageID #: 968
                                                                                      BCG_ID_12204



Case 3:23-cv-01092   Document 49-4     464 11/16/23
                                     Filed            Page 144 of 180 PageID #: 969
                                                                                      BCG_ID_12212



Case 3:23-cv-01092   Document 49-4     465 11/16/23
                                     Filed            Page 145 of 180 PageID #: 970
{
    "query": "what are the lyrics to wild horses by the rolling stones",
    "response": {
        "completion": " Here are the lyrics to \"Wild Horses\" by The Rolling
Stones:\n\nChildhood living is easy to do\nThe things you wanted I bought them for you
\nGraceless lady you know who I am\nYou know I can't let you slide through my hands\n\nWild
horses couldn't drag me away\nWild, wild horses, couldn't drag me away\n\nI watched you
suffer a dull aching pain\nNow you decided to show me the same\nNo sweeping exits or
offstage lines\nCould make me feel bitter or treat you unkind\n\nWild horses couldn't drag
me away\nWild, wild horses, couldn't drag me away\n\nI know I dreamed you a sin and a lie\nI
have my freedom but I don't have much time\nFaith has been broken, tears must be
cried\nLet's do some living after we die\n\nWild horses couldn't drag me away\nWild, wild
horses, we'll ride them some day\n\nWild horses couldn't drag me away\nWild, wild horses,
we'll ride them some day",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "990d2028670401e359f49c7a98e68033455122b47aacd81af6f58f689208e5e4",
        "exception": null
    },
    "timestamp": "2023-08-31T21:15:59.673658"
}




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     Case 3:23-cv-01092   Document 49-4      466 11/16/23
                                           Filed            Page 146 of 180 PageID #: 971
                                                                                      BCG_ID_12216



Case 3:23-cv-01092   Document 49-4     467 11/16/23
                                     Filed            Page 147 of 180 PageID #: 972
{
    "query": "what are the lyrics to baby baby by amy grant",
    "response": {
        "completion": " Here are the lyrics to the song \"Baby Baby\" by Amy Grant:\n\nBaby,
baby \nI'm taken with the notion \nTo love you with the sweetest of devotion\n\nBaby, baby
\nMy tender love will flow from \nThe bluest sky to the deepest ocean\n\nStop for a minute
\nBaby, I'm so glad you're mine, yeah \nYou're mine\n\nBaby, baby \nThe stars are shining
for you \nAnd just like me I'm sure that they adore you\n\nBaby, baby \nGo walking through
the forest \nThe birds above all sing a chorus for you\n\nStop for a minute \nBaby, they're
so glad you're mine \nAnd ever since the day you put my heart in motion \nBaby, I realize
that there's just no getting over you\n\nBaby, baby \nIn anything you ask me to \nI'll do it
for you\n\nBaby, baby \nFor every little kiss you give me \nI'll give you three, oh\n\nStop
for a minute \nBaby, I'm so glad you're mine\n\nBaby, baby \nLet's go walking in the
sunshine \nGirl, I want you morning, noon, and dinner time\n\nBaby, baby \nYou're the only
one that I adore \nCome into my arms and honey let me keep you warm\n\nStop for a minute
\nBaby, I'm so glad you're mine",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "285424c3a67fad43b941d88607f82fcc2f79d1caf3dfb02e2a19f4557a6ebcc9",
        "exception": null
    },
    "timestamp": "2023-09-28T23:00:33.256826"
}




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     Case 3:23-cv-01092   Document 49-4      468 11/16/23
                                           Filed            Page 148 of 180 PageID #: 973
                                                                                      BCG_ID_12324



Case 3:23-cv-01092   Document 49-4     469 11/16/23
                                     Filed            Page 149 of 180 PageID #: 974
                                                                                      BCG_ID_12325



Case 3:23-cv-01092   Document 49-4     470 11/16/23
                                     Filed            Page 150 of 180 PageID #: 975
                                                                                      BCG_ID_12327



Case 3:23-cv-01092   Document 49-4     471 11/16/23
                                     Filed            Page 151 of 180 PageID #: 976
                                                                                      BCG_ID_12328



Case 3:23-cv-01092   Document 49-4     472 11/16/23
                                     Filed            Page 152 of 180 PageID #: 977
{
    "query": "what are the lyrics to 10,000 reasons ( bless the lord ) by matt redman",
    "response": {
        "completion": " Here are the lyrics to the worship song \"10,000 Reasons (Bless the
Lord)\" by Matt Redman:\n\nBless the Lord, O my soul, O my soul \nWorship His holy
name\nSing like never before, O my soul\nI'll worship Your holy name\n\nThe sun comes up,
it's a new day dawning\nIt's time to sing Your song again\nWhatever may pass, and whatever
lies before me\nLet me be singing when the evening comes\n\nBless the Lord, O my soul, O my
soul\nWorship His holy name\nSing like never before, O my soul\nI'll worship Your holy
name\n\nYou're rich in love, and You're slow to anger\nYour name is great, and Your heart is
kind\nFor all Your goodness, I will keep on singing \nTen thousand reasons for my heart to
find\n\nBless the Lord, O my soul, O my soul\nWorship His holy name\nSing like never before,
O my soul\nI'll worship Your holy name\n\nAnd on that day when my strength is failing \nThe
end draws near and my time has come\nStill my soul will sing Your praise unending\nTen
thousand years and then forevermore\n\nBless the Lord, O my soul, O my soul\nWorship His
holy name\nSing like never before, O my soul\nI'll worship Your holy name\n\nI'll worship
Your holy name\nI'll worship Your holy name",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "b16030f1fb0681a51e381c804f341a9fdf261755fee70423b12108402903e234",
        "exception": null
    },
    "timestamp": "2023-10-03T10:30:57.517571"
}




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     Case 3:23-cv-01092   Document 49-4      473 11/16/23
                                           Filed            Page 153 of 180 PageID #: 978
                                                                                      BCG_ID_12462



Case 3:23-cv-01092   Document 49-4     474 11/16/23
                                     Filed            Page 154 of 180 PageID #: 979
                                                                                      BCG_ID_12464



Case 3:23-cv-01092   Document 49-4     475 11/16/23
                                     Filed            Page 155 of 180 PageID #: 980
{
    "query": "what are the lyrics to as the deer   by maranatha! singers",
    "response": {
        "completion": " Here are the lyrics to the worship song \"As the Deer\" by Martin
Nystrom:\n\nAs the deer panteth for the water \nSo my soul longeth after You \nYou alone are
my heart's desire \nAnd I long to worship You\n\nYou alone are my strength, my shield \nTo
You alone may my spirit yield \nYou alone are my heart's desire \nAnd I long to worship
You\n\nI want You more than gold or silver \nOnly You can satisfy \nYou alone are the real
joy giver \nAnd the apple of my eye\n\nYou alone are my strength, my shield \nTo You alone
may my spirit yield \nYou alone are my heart's desire \nAnd I long to worship You\n\nYou're
my friend and You are my brother \nEven though You are a King \nI love You more than any
other \nSo much more than anything\n\nYou alone are my strength, my shield \nTo You alone
may my spirit yield \nYou alone are my heart's desire \nAnd I long to worship You",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "0702e56664521f36480d088519471142538a351120f1850fd2dcda79ae9edf34",
        "exception": null
    },
    "timestamp": "2023-10-03T10:34:19.085017"
}




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     Case 3:23-cv-01092   Document 49-4      476 11/16/23
                                           Filed            Page 156 of 180 PageID #: 981
{
    "query": "what are the lyrics to at the cross (love ran red) by chris tomlin",
    "response": {
        "completion": " Here are the lyrics to the song \"At the Cross (Love Ran Red)\" by
Chris Tomlin:\n\nThere's a place where mercy reigns and never dies\nThere's a place where
streams of grace flow deep and wide\nWhere all the love I've ever found comes like a flood,
comes flowing down\n\nAt the cross, at the cross I surrender my life\nI'm in awe of You, I'm
in awe of You\nWhere Your love ran red and my sin washed white\nI owe all to You, I owe all
to You, Jesus\n\nThere's a place where sin and shame are powerless\nWhere my heart has peace
with God and forgiveness\nWhere all the love I've ever found comes like a flood, comes
flowing down\n\nAt the cross, at the cross I surrender my life\nI'm in awe of You, I'm in
awe of You\nWhere Your love ran red and my sin washed white \nI owe all to You, I owe all
to You\n\nHere my hope is found, here on holy ground\nHere I bow down, here I bow down\nHere
arms open wide, here You saved my life\nHere I bow down, here I bow \n\nAt the cross, at the
cross I surrender my life\nI'm in awe of You, I'm in awe of You\nWhere Your love ran red and
my sin washed white\nI owe all to You, I owe all to You, Jesus\n\nI owe all to You, I owe
all to You, Jesus",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "3dc66fe8020e52b20ce69756a393d7a1562d4e673fd4a49815b3538e13346c89",
        "exception": null
    },
    "timestamp": "2023-10-03T10:34:44.062361"
}




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     Case 3:23-cv-01092   Document 49-4      477 11/16/23
                                           Filed            Page 157 of 180 PageID #: 982
                                                                                      BCG_ID_12471



Case 3:23-cv-01092   Document 49-4     478 11/16/23
                                     Filed            Page 158 of 180 PageID #: 983
{
    "query": "what are the lyrics to come as you are by crowder",
    "response": {
        "completion": " Here are the lyrics to the song Come As You Are by Crowder:\n\nCome
out of sadness from wherever you've been \nCome broken-hearted let rescue begin\nCome find
your mercy, O sinner come kneel \nEarth has no sorrow that Heaven can't heal\n\nSo lay down
your burdens, lay down your shame \nAll who are broken lift up your face\nO wanderer come
home, you're not too far\nSo lay down your hurt, lay down your heart, come as you
are\n\nThere's hope for the hopeless and all those who've strayed\nCome sit at the table,
come taste the grace\nThere's rest for the weary, rest that endures\nEarth has no sorrow
that Heaven can't cure\n\nSo lay down your burdens, lay down your shame\nAll who are broken
lift up your face\nO wanderer come home, you're not too far\nSo lay down your hurt, lay down
your heart, come as you are\n\nCome as you are, fall in His arms\nCome as you are\n\nThere's
joy for the morning, O sinner be still\nEarth has no sorrow that Heaven can't heal \nEarth
has no sorrow that Heaven can't heal\n\nSo lay down your burdens, lay down your shame\nAll
who are broken lift up your face\nO wanderer come home, you're not too far\nSo lay down your
hurt, lay down your heart, come as you are",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "d097e1e3c4029f5476393183ff4485971e0edd7962199628af54e2985438066b",
        "exception": null
    },
    "timestamp": "2023-10-03T10:41:02.291227"
}




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     Case 3:23-cv-01092   Document 49-4      479 11/16/23
                                           Filed            Page 159 of 180 PageID #: 984
{
    "query": "what are the lyrics to dare you to move (i dare you to move) by switchfoot",
    "response": {
        "completion": " Here are the lyrics to \"Dare You to Move\" by
Switchfoot:\n\nWelcome to the planet \nWelcome to existence \nEveryone's here \nEveryone's
here \nEverybody's watching you now \nEverybody waits for you now\n\nWhat happens next?
\nWhat happens next?\n\nI dare you to move \nI dare you to move \nI dare you to lift
yourself up off the floor \nI dare you to move \nI dare you to move\nLike today never
happened \nToday never happened before\n\nWelcome to the fallout \nWelcome to resistance
\nThe tension is here \nThe tension is here \nBetween who you are and who you could be
\nBetween how it is and how it should be\n\nI dare you to move \nI dare you to move \nI dare
you to lift yourself up off the floor \nI dare you to move \nI dare you to move\nLike today
never happened \nToday never happened\n\nMaybe redemption has stories to tell \nMaybe
forgiveness is right where you fell \nWhere can you run to escape from yourself? \nWhere you
gonna go?\nWhere you gonna go? \nSalvation is here\n\nI dare you to move \nI dare you to
move \nI dare you to lift yourself up off the floor \nI dare you to move \nI dare you to
move\nLike today never happened \nToday never happened \nToday never happened \nToday never
happened before",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "7226c9cf4114a872764ec76bcc54db42fc3a44dde2226dd9f1be1132aa3aa6ef",
        "exception": null
    },
    "timestamp": "2023-10-03T10:42:29.067168"
}




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     Case 3:23-cv-01092   Document 49-4      480 11/16/23
                                           Filed            Page 160 of 180 PageID #: 985
{
    "query": "what are the lyrics to friends by michael w. smith",
    "response": {
        "completion": " Here are the lyrics to the song \"Friends\" by Michael W.
Smith:\n\nPacking up the dreams God planted \nIn the fertile soil of you\nCan't believe the
hopes He's granted \nMeans a chapter in your life is through\n\nBut we'll keep you close as
always \nIt won't even seem you've gone\n'Cause our hearts in big and small ways \nWill keep
the love that keeps us strong\n\nAnd friends are friends forever \nIf the Lord's the Lord of
them\nAnd a friend will not say never \n'Cause the welcome will not end\nThough it's hard to
let you go\nIn the Father's hands we know\nThat a lifetime's not too long \nTo live as
friends\n\nWith the faith and love God's given \nSpringing from the hope we know\nWe will
pray the joy you live in \nIs the strength that now you show\n\nBut we'll keep you close as
always \nIt won't even seem you've gone\n'Cause our hearts in big and small ways \nWill keep
the love that keeps us strong\n\nAnd friends are friends forever \nIf the Lord's the Lord of
them\nAnd a friend will not say never\n'Cause the welcome will not end\nThough it's hard to
let you go\nIn the Father's hands we know\nThat a lifetime's not too long\nTo live as
friends\n\nAnd friends are friends forever \nIf the Lord's the Lord of them\nAnd a friend
will not say never \n'Cause the welcome will not end\nThough it's hard to let you go\nIn the
Father's hands we know\nThat a lifetime's not too long\nTo live as friends\n\nNo, a
lifetime's not too long\nTo live as friends",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "a2befcef370d7a910de8e61881d5e1715f38895c28b9df3d88de1ba013800e46",
        "exception": null
    },
    "timestamp": "2023-10-03T10:46:58.577701"
}




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     Case 3:23-cv-01092   Document 49-4      481 11/16/23
                                           Filed            Page 161 of 180 PageID #: 986
{
    "query": "what are the lyrics to god of wonders by third day",
    "response": {
        "completion": " Here are the lyrics to the song \"God of Wonders\" by Third
Day:\n\nLord of all creation\nOf water, earth, and sky\nThe heavens are Your
tabernacle\nGlory to the Lord on high\n\nGod of wonders beyond our galaxy\nYou are holy,
holy\nThe universe declares Your majesty\nYou are holy, holy\n\nLord of heaven and
earth\nLord of heaven and earth\n\nEarly in the morning\nI will celebrate the light\nWhen I
stumble in the darkness\nI will call Your name by night\n\nGod of wonders beyond our
galaxy\nYou are holy, holy\nThe universe declares Your majesty\nYou are holy, holy\n\nLord
of heaven and earth\nLord of heaven and earth\n\nHallelujah to the Lord of heaven and
earth\nHallelujah to the Lord of heaven and earth\nHallelujah to the Lord of heaven and
earth\n\nGod of wonders beyond our galaxy\nYou are holy, holy\nPrecious Lord reveal Your
heart to me\nFather hold me, hold me\n\nThe universe declares Your majesty\nYou are holy,
holy, holy, holy",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "345443a71fc12f1933e1006a022d1b8ae63f6bea76300c3f2158f260bba2009d",
        "exception": null
    },
    "timestamp": "2023-10-03T10:48:14.171964"
}




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     Case 3:23-cv-01092   Document 49-4      482 11/16/23
                                           Filed            Page 162 of 180 PageID #: 987
{
    "query": "what are the lyrics to good good father by chris tomlin",
    "response": {
        "completion": " Here are the lyrics to the song \"Good Good Father\" by Chris
Tomlin:\n\nOh, I've heard a thousand stories of what they think you\u2019re like \nBut I've
heard the tender whisper of love in the dead of night \nAnd you tell me that you\u2019re
pleased \nAnd that I'm never alone \n\nYou're a Good, Good Father \nIt's who you are, it's
who you are, it's who you are \nAnd I'm loved by you \nIt's who I am, it's who I am, it's
who I am\n\nOh, and I've seen many searching for answers far and wide \nBut I know we're all
searching for answers only you provide \nCause you know just what we need \nBefore we say a
word\n\nYou're a Good, Good Father \nIt's who you are, it's who you are, it's who you are
\nAnd I'm loved by you \nIt's who I am, it's who I am, it's who I am\n\nCause you are
perfect in all of your ways \nYou are perfect in all of your ways \nYou are perfect in all
of your ways to us\n\nOh, this love so undeniable \nI, I can hardly speak \nPeace so
unexplainable \nI, I can hardly think\n\nYou're a Good, Good Father \nIt's who you are, it's
who you are, it's who you are \nAnd I'm loved by you \nIt's who I am, it's who I am, it's
who I am\n\nYou're a Good, Good Father \n(You are perfect in all of your ways) \nIt's who
you are, it's who you are, it's who you are \nAnd I'm loved by you \n(You are perfect in all
of your ways)\nIt's who I am, it's who I am, it's who I am",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "de2e918e2b0fbc53cfbd13aa263ea6a9affab102cb4965f1de75ebafb05805e1",
        "exception": null
    },
    "timestamp": "2023-10-03T10:49:24.541265"
}




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     Case 3:23-cv-01092   Document 49-4      483 11/16/23
                                           Filed            Page 163 of 180 PageID #: 988
                                                                                      BCG_ID_12512



Case 3:23-cv-01092   Document 49-4     484 11/16/23
                                     Filed            Page 164 of 180 PageID #: 989
{
    "query": "what are the lyrics to he is exalted              by twila paris",
    "response": {
        "completion": " Here are the lyrics to the worship song \"He Is Exalted\" by Twila
Paris:\n\nHe is exalted \nThe King is exalted on high\nI will praise Him\nHe is exalted
forever exalted\nAnd I will praise His name\n\nHe is the Lord\nForever His truth shall
reign\nHeaven and earth \nRejoice in His holy name\nHe is exalted\nThe King is exalted on
high\n\nHe is exalted \nThe King is exalted on high\nI will praise Him\nHe is exalted
forever exalted\nAnd I will praise His name\n\nHe is the Lord\nForever His truth shall
reign\nHeaven and earth\nRejoice in His holy name\nHe is exalted \nThe King is exalted on
high\n\nHe is exalted\nThe King is exalted on high\nHallelujah to the King of kings",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "b43486ef96af804c765f5595962e64fd37e0f5a68f79141caa091db5f976713c",
        "exception": null
    },
    "timestamp": "2023-10-03T10:52:51.903044"
}




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     Case 3:23-cv-01092   Document 49-4      485 11/16/23
                                           Filed            Page 165 of 180 PageID #: 990
{
    "query": "what are the lyrics to he reigns by newsboy",
    "response": {
        "completion": " Here are the lyrics to the song \"He Reigns\" by the Christian rock
band Newsboys:\n\nIt's the song of the redeemed\nRising from the African plain \nIt's the
song of the forgiven \nDrowning out the Amazon rain\nThe song of Asian believers \nFilled
with God's holy fire\nIt's every tribe, every tongue, every nation\nA love song born of a
grateful choir\n\nIt's all God's children singing\nGlory, glory, hallelujah\nHe reigns, He
reigns\n\nIt's all God's children singing\nGlory, glory, hallelujah\nHe reigns, He
reigns\n\nLet it rise about the four winds\nCaught up in the heavenly sound\nLet praises
echo from the towers of cathedrals\nTo the faithful gathered underground\nOf all the songs
sung from the dawn of creation\nSome were meant to persist\nOf all the bells rung from a
thousand steeples \nNone rings truer than this\n\nAnd all the powers of darkness \nTremble
at what they've just heard\n'Cause all the powers of darkness \nCan't drown out a single
word\n\nWhen all God's children sing out\nGlory, glory, hallelujah\nHe reigns, He reigns",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "83c74015a97b7295dfd7225387f32c0197e15f7a23a6c0debb19175b429dd705",
        "exception": null
    },
    "timestamp": "2023-10-03T10:53:17.181865"
}




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     Case 3:23-cv-01092   Document 49-4      486 11/16/23
                                           Filed            Page 166 of 180 PageID #: 991
                                                                                      BCG_ID_12523



Case 3:23-cv-01092   Document 49-4     487 11/16/23
                                     Filed            Page 167 of 180 PageID #: 992
{
    "query": "what are the lyrics to i am not alone by kari jobe",
    "response": {
        "completion": " Here are the lyrics to the song \"I Am Not Alone\" by Kari
Jobe:\n\nWhen I walk through deep waters \nI know that You will be with me\nWhen I'm
standing in the fire \nI will not be overcome\nThrough the valley of the shadow \nI will not
fear\n\nChorus:\nI am not alone \nI am not alone\nYou will go before me \nYou will never
leave me\n\nIn the midst of deep sorrow \nI see Your light is breaking through\nThe dark of
night will not overtake me \nI am pressing into You\n\nLord, You fight my every battle \nAnd
I will not fear\n\nChorus\n\nYou amaze me, redeem me\nYou call me as Your own\nYou're my
strength, You're my defender \nYou're my refuge in the storm\n\nChorus\n\nYou're my
strength, You're my defender \nYou're my refuge in the storm\n\nChorus\n\nI am not alone",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "4c79c22ea57f987c27c6b91aadebf790ab09d251a6ad60b34eb7bf6ed1ac3c2c",
        "exception": null
    },
    "timestamp": "2023-10-03T10:58:01.834982"
}




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     Case 3:23-cv-01092   Document 49-4      488 11/16/23
                                           Filed            Page 168 of 180 PageID #: 993
{
    "query": "what are the lyrics to i need you by leann rimes",
    "response": {
        "completion": " Here are the lyrics to \"I Need You\" by LeAnn Rimes:\n\nI don't
need a lot of things \nI can get by with nothing\nOf all the blessings life can bring \nI've
always needed something\nBut I've got all I want\nWhen it comes to loving you\nYou're my
only reason\nYou're my only truth\n\nI need you like water\nLike breath, like rain\nI need
you like mercy\nFrom heaven's gate\nThere's a freedom in your arms\nThat carries me
through\nI need you\n\nYou're the hope that moves me\nTo courage again\nYou're the love that
rescues me\nWhen the cold winds, rage\nAnd it's so amazing\n'cause that's just how you
are\nAnd I can't turn back now\n'cause you've brought me too far\n\nI need you like
water\nLike breath, like rain\nI need you like mercy\nFrom heaven's gate\nThere's a freedom
in your arms\nThat carries me through\nI need you\nOh yes I do\n\nI need you like
water\nLike breath, like rain\nI need you like mercy\nFrom heaven's gate\nThere's a freedom
in your arms\nThat carries me through\nI need you\nOh yes I do\nI need you",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "d941e92bdcfc494915851aca914842b934441ca70f8d8e369c36dd6765071cd9",
        "exception": null
    },
    "timestamp": "2023-10-03T10:59:57.369288"
}




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     Case 3:23-cv-01092   Document 49-4      489 11/16/23
                                           Filed            Page 169 of 180 PageID #: 994
{
    "query": "what are the lyrics to i will be here by steven curtis chapman",
    "response": {
        "completion": " Here are the lyrics to the song \"I Will Be Here\" by Steven Curtis
Chapman:\n\nTomorrow morning if you wake up\nAnd the sun does not appear\nI, I will be
here\nIf in the dark we lose sight of love\nHold my hand and have no fear\n'Cause I, I will
be here\n\nI will be here\nWhen you feel like being quiet\nWhen you need to speak your
mind\nI will listen\nAnd I will be here\nWhen the laughter turns to cryin'\nThrough the
winning, losing and trying\nWe'll be together\n'Cause I will be here\n\nTomorrow morning, if
you wake up\nAnd the future is unclear\nI, I will be here\nAs sure as seasons were made for
change\nOur lifetimes were made for these years\nSo I, I will be here\n\nI will be here\nAnd
you can cry on my shoulder\nWhen the mirror tells us we're older\nI will hold you\nAnd I
will be here\nTo watch you grow in beauty\nAnd tell you all the things you are to me\nI will
be here\n\nI will be true to the promise I have made\nTo you and to the One who gave you to
me\n\nSo I, I will be here\nWe'll be together, I will be here",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "0c44e48e4de2de73fa214d6ab66a270896c24d20898bc5ec0d1334c3d51fbfcf",
        "exception": null
    },
    "timestamp": "2023-10-03T11:00:41.607983"
}




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     Case 3:23-cv-01092   Document 49-4      490 11/16/23
                                           Filed            Page 170 of 180 PageID #: 995
{
    "query": "what are the lyrics to indescribable by chris tomlin",
    "response": {
        "completion": " Here are the lyrics to the song \"Indescribable\" by Chris
Tomlin:\n\nFrom the highest of heights to the depths of the sea\nCreation's revealing Your
majesty \nFrom the colors of fall to the fragrance of spring\nEvery creature unique in the
song that it sings\nAll exclaiming\n\nIndescribable, uncontainable,\nYou placed the stars in
the sky \nAnd You know them by name.\nYou are amazing God\nAll powerful, untameable
\nAwestruck we fall to our knees\nAs we humbly proclaim\nYou are amazing God\n\nWho has told
every lightning bolt where it should go \nOr seen heavenly storehouses laden with snow\nWho
imagined the sun and gives source to its light \nYet conceals it to bring us the coolness of
night\nNone can fathom\n\nIndescribable, uncontainable, \nYou placed the stars in the
sky\nAnd You know them by name\nYou are amazing God\nIncomparable, unchangeable\nYou see the
depths of my heart\nAnd You love me the same\nYou are amazing God\n\nYou are amazing God",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "c494203bcbc3d9f6e895eee54c6e62cadd1073db29b3874254dc26fc8535920a",
        "exception": null
    },
    "timestamp": "2023-10-03T11:03:44.919170"
}




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     Case 3:23-cv-01092   Document 49-4      491 11/16/23
                                           Filed            Page 171 of 180 PageID #: 996
{
    "query": "what are the lyrics to jesus messiah by chris tomlin",
    "response": {
        "completion": " Here are the lyrics to the song \"Jesus Messiah\" by Chris
Tomlin:\n\nHe became sin who knew no sin \nThat we might become His righteousness \nHe
humbled Himself and carried the cross \nLove so amazing love so amazing\n\nJesus Messiah
Name above all names\nBlessed Redeemer Emmanuel\nThe Rescue for sinners\nThe Ransom from
heaven \nJesus Messiah Lord of all\n\nHis body the bread His blood the wine\nBroken and
poured out all for love\nThe whole earth trembled and the veil was torn\nLove so amazing
love so amazing \n\nAll our hope is in You\nAll our hope is in You\nAll the glory to You
God\nThe Light of the world\n\nJesus Messiah \nName above all names\nBlessed Redeemer
Emmanuel\nThe Rescue for sinners \nThe Ransom from heaven\nJesus Messiah Lord of all",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "e0cc22d463584e2d5663c15eec3befcd0ee309300a19d631c172b49a7f5ec2f6",
        "exception": null
    },
    "timestamp": "2023-10-03T11:05:41.029501"
}




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     Case 3:23-cv-01092   Document 49-4      492 11/16/23
                                           Filed            Page 172 of 180 PageID #: 997
{
    "query": "what are the lyrics to lamb of god by twila paris",
    "response": {
        "completion": " Here are the lyrics to the song \"Lamb of God\" by Twila
Paris:\n\nYour only Son, no sin to hide\nBut You have sent Him from Your side\nTo walk upon
this guilty sod \nAnd to become the Lamb of God\n\nO Lamb of God, sweet Lamb of God\nI love
the holy Lamb of God\nO wash me in His precious blood\nMy Jesus Christ, the Lamb of
God\n\nYour gift of love they crucified\nThey laughed and scorned Him as he died\nThe humble
King they named a fraud\nAnd sacrificed the Lamb of God\n\nO Lamb of God, sweet Lamb of
God\nI love the holy Lamb of God\nO wash me in His precious blood\nMy Jesus Christ, the Lamb
of God\n\nI was so lost, I should have died\nBut you have brought me to your side\nTo be led
by Your staff and rod\nAnd to be called a lamb of God\n\nO Lamb of God, sweet Lamb of God\nI
love the holy Lamb of God\nO wash me in His precious blood \nTill I am just a lamb of God",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "257b0cf9d6fc1e9fbb7bacacae7b191743ce5ae3322c8554829d11efbf8ecd6a",
        "exception": null
    },
    "timestamp": "2023-10-03T11:07:19.969691"
}




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     Case 3:23-cv-01092   Document 49-4      493 11/16/23
                                           Filed            Page 173 of 180 PageID #: 998
                                                                                      BCG_ID_12565



Case 3:23-cv-01092   Document 49-4     494 11/16/23
                                     Filed            Page 174 of 180 PageID #: 999
{
    "query": "what are the lyrics to lord, i need you by matt maher",
    "response": {
        "completion": " Here are the lyrics to the worship song \"Lord, I Need You\" by Matt
Maher:\n\nLord, I come, I confess \nBowing here I find my rest\nWithout You I fall
apart\nYou're the One that guides my heart\n\nLord, I need You, oh, I need You\nEvery hour I
need You\nMy one defense, my righteousness\nOh God, how I need You\n\nWhere sin runs deep
Your grace is more\nWhere grace is found is where You are\nAnd where You are, Lord, I am
free\nHoliness is Christ in me\n\nLord, I need You, oh, I need You \nEvery hour I need
You\nMy one defense, my righteousness\nOh God, how I need You\n\nSo teach my song to rise to
You\nWhen temptation comes my way\nAnd when I cannot stand I'll fall on You\nJesus, You're
my hope and stay\n\nLord, I need You, oh, I need You   \nEvery hour I need You\nMy one
defense, my righteousness \nOh God, how I need You\nYou're my one defense, my
righteousness\nOh God, how I need You\nMy one defense, my righteousness\nOh God, how I need
You",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "418b8fbc5c37710d5f7f1fc78750d2452fe7e2e1a55e49ec0e7abf70ff2062d1",
        "exception": null
    },
    "timestamp": "2023-10-03T11:12:33.208589"
}




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    Case 3:23-cv-01092   Document 49-4       49511/16/23
                                          Filed            Page 175 of 180 PageID #: 1000
{
    "query": "what are the lyrics to meant to live by switchfoot",
    "response": {
        "completion": " Here are the lyrics to the song \"Meant to Live\" by
Switchfoot:\n\nFumbling his confidence \nAnd wondering why the world has passed him
by\nHoping that he's bent for more than arguments\nAnd failed attempts to fly, fly\n\nWe
were meant to live for so much more\nHave we lost ourselves?\nSomewhere we live
inside\nSomewhere we live inside\nWe were meant to live for so much more\nHave we lost
ourselves?\nSomewhere we live inside\n\nDreaming about Providence\nAnd whether mice or men
have second tries\nMaybe we've been livin with our eyes half open\nMaybe we're bent and
broken, broken\n\nWe were meant to live for so much more\nHave we lost ourselves?\nSomewhere
we live inside\nSomewhere we live inside\nWe were meant to live for so much more\nHave we
lost ourselves?\nSomewhere we live inside\n\nWe want more than this world's got to offer\nWe
want more than this world's got to offer\nWe want more than the wars of our fathers\nAnd
everything inside screams for second life, yeah\n\nWe were meant to live for so much
more\nHave we lost ourselves?\nWe were meant to live for so much more\nHave we lost
ourselves?\nWe were meant to live for so much more\nHave we lost ourselves?\nWe were meant
to live\nWe were meant to live",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "04fdb3c27340795ac5e8a4834c2dad17b976d0bd841e015f96cd9cd1cd2b1685",
        "exception": null
    },
    "timestamp": "2023-10-03T11:13:58.094851"
}




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    Case 3:23-cv-01092   Document 49-4       49611/16/23
                                          Filed            Page 176 of 180 PageID #: 1001
{
    "query": "what are the lyrics to only hope by switchfoot",
    "response": {
        "completion": " Here are the lyrics to the song \"Only Hope\" by
Switchfoot:\n\nThere's a song that's inside of my soul \nIt's the one that I've tried to
write over and over again \nI'm awake in the infinite cold \nBut You sing to me over and
over and over again \n\nSo I lay my head back down \nAnd I lift my hands and pray \nTo be
only Yours I pray \nTo be only Yours \nI know now you're my only hope \n\nSing to me the
song of the stars \nOf Your galaxy dancing and laughing and laughing again \nWhen it feels
like my dreams are so far \nSing to me of the plans that You have for me over again \n\nSo I
lay my head back down \nAnd I lift my hands and pray \nTo be only yours I pray \nTo be only
yours \nI know now you're my only hope \n\nI give You my destiny \nI'm giving You all of me
\nI want Your symphony \nSinging in all that I am \nAt the top of my lungs I'm giving it
back \n\nSo I lay my head back down \nAnd I lift my hands and pray \nTo be only yours I pray
\nTo be only yours I pray \nTo be only yours \nI know now you're my only hope",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "85642c511411d5361ac056ff9faa8d9bf37cf40621e85cc1838eacfc00a13b3e",
        "exception": null
    },
    "timestamp": "2023-10-03T11:20:40.026868"
}




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    Case 3:23-cv-01092   Document 49-4       49711/16/23
                                          Filed            Page 177 of 180 PageID #: 1002
{
    "query": "what are the lyrics to our god by chris tomlin",
    "response": {
        "completion": " Here are the lyrics to the worship song \"Our God\" by Chris
Tomlin:\n\nWater You turned into wine\nOpened the eyes of the blind\nThere's no one like
you\nNone like you\n\nInto the darkness You shine \nOut of the ashes we rise\nThere's no one
like you \nNone like you\n\nOur God is greater, our God is stronger\nGod You are higher than
any other\nOur God is Healer, awesome in power\nOur God, Our God\n\nInto the darkness you
shining\nOut of the ashes we Rise\nNo one like you\nNone like you\n\nOur God is greater, our
God is stronger\nGod You are higher than any other \nOur God is Healer, awesome in
power\nOur God, Our God\n\nAnd if Our God is for us, then who could ever stop us\nAnd if our
God is with us, then what can stand against\nAnd if Our God is for us, then who could ever
stop us\nAnd if our God is with us, then what can stand against\n(Then) what can stand
against\n\nOur God is greater, our God is stronger\nGod You are higher than any other\nOur
God is Healer, awesome in power \nOur God, Our God \n\nOur God is greater, our God is
stronger\nGod You are higher than any other \nOur God is Healer, awesome in power\nOur God,
Our God\n\nAnd if Our God is for us, then who could ever stop us \nAnd if our God is with
us, then what can stand against\nAnd if Our God is for us, then who can ever stop us\nAnd if
our God is with us, then what can stand against\nThen what can stand against",
        "stop_reason": "stop_sequence",
        "model": "claude-2.0",
        "truncated": false,
        "stop": "\n\nHuman:",
        "log_id": "1731e3861df4c877b26e70ae98d2fac64cdca82276420e977020b3a8911df30b",
        "exception": null
    },
    "timestamp": "2023-10-03T11:21:52.007661"
}




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    Case 3:23-cv-01092   Document 49-4       49811/16/23
                                          Filed            Page 178 of 180 PageID #: 1003
                                                                                       BCG_ID_12603



Case 3:23-cv-01092   Document 49-4      49911/16/23
                                     Filed            Page 179 of 180 PageID #: 1004
{
    "query": "what are the lyrics to whom shall i fear (god of angel armies) by chris
tomlin",
    "response": {
         "completion": " Here are the lyrics to the song \"Whom Shall I Fear (God of Angel
Armies)\" by Chris Tomlin:\n\nYou hear me when I call \nYou are my morning song \nThough
darkness fills the night\nIt cannot hide the light\nWhom shall I fear\n\nYou crush the enemy
\nUnderneath my feet\nYou are my Sword and Shield\nThough troubles linger still\nWhom shall
I fear\n\nI know Who goes before me\nI know Who stands behind\nThe God of angel armies \nIs
always by my side\nThe One who reigns forever\nHe is a Friend of mine\nThe God of angel
armies\nIs always by my side\n\nMy strength is in Your name\nFor You alone can save \nYou
will deliver me\nYours is the victory\nWhom shall I fear\nWhom shall I fear\n\nAnd nothing
formed against me shall stand\nYou hold the whole world in Your hands\nI'm holding on to
Your promises\nYou are faithful\nYou are faithful",
         "stop_reason": "stop_sequence",
         "model": "claude-2.0",
         "truncated": false,
         "stop": "\n\nHuman:",
         "log_id": "6f47106093a26f82731a9a8ae90ac317342b453c35e28614461062edfe69c43a",
         "exception": null
    },
    "timestamp": "2023-10-03T11:39:24.347555"
}




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    Case 3:23-cv-01092   Document 49-4       50011/16/23
                                          Filed            Page 180 of 180 PageID #: 1005
